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                                                                          5/11/2015
           Manhattan,      NY
                                FlatRate           was        recommended                        for     a move             of 7 blocks                  in
               0 friends
                                Marinattan.            They             were      to pack              on     day      one         and       move             on
               7 reviews
                                day     two.        First day             4 packers                arrived            packed              for 3 hours
                                and     then        left    with        not      much          done,          which          made          the         move

                                day     very       hectic          as     so much              still    had         to be packed.                      Upon

                                arriving          they      announced                   that      I should            tip them             well;         I had

                                already           planned           to do        this.


                                They       left    two       fumiture            items          in the         old     apartment                  and
                                when        I called          the       office     to advise                 them,         I was          told     that

                                they      would            have      to research                 why          the     movers              did     riot        take
                                them.        I riever         heard            Dack       and          I had        to arrange               for a
                                separate            pick      up because                   the         new     tenants             were          moving
                                in.


                                When        I unpacked                   I had      so much                 damage             I was            stunned.
                                Ari     antique            chair        was      completely                   demolished,                  breakables
                                were       put     in boxes              along        with       metal          objects             and         very      little

                                packing   paper  (I sheet    of paper     around     a Japanese                                                          vase)
                                and all of the former     broke,   including     antique    pottery                                                       from
                                Peru.       They            put     a metal         frame              next     to an         oil painting                    and
                                the     metal        edge          took       off the          paint        in several              spots,         a large
                                armoire           was       destroyed              inside            with      selves          detached,
                                chips      all over,              a screeri         was          missing             the      piris       to hold             it

                                together,           the      computer              was         damaged,                 and         I could         go on
                                an on.          The        claim        covered             only        60 cents             per         pound           of
                                damaged              items          which          did      not even                cover          the     chair
                                repair.


                                While       the      packers              were      friendly,            two         were          not
                                experienced                 at all arid           just      threw           things          into      boxes.             The
                                rate      seemed             reasonable                  at first       but         I would         have
                                preferred           to have             paid      more          to get         movers              that      were
                                more       careful.           and        made         the       move           less        stressful.




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                                                                         7/25/2015               .   O       Updated          review
            h   maston,     ME

                                 They       damaged                everything             I owried.                My     armoire        was
                0 friends
                                 being       held        together          with        packing           tape           and    when        one      of
                3 reviews
                                 the     movers          tried      to pull       011the             tape,         a piece        of the      top
                1 photo          molding  fell off               and       hit    rny hand.    My harid                       was  seriously
                                 hurt and I could                  barely          move  it for a week.                        For all the
                                 damages             they        sent me          200.        They           pay        you    based          on what

                                 they      think     your        stuff     weighs????                    not       sure       how      that    even
                                 makes            sense.     They          were         highly          recommended                     or    I would
                                 have       Dought          a ton        of insurance.                 The         sales       person          never
                                 returned           my     calls       or email


                                 I spent          over     3k with         them         and          I even         paid      them      to store

                                 my      stulf.


                                 Dar      t use      them.



                                           Useful                      Furiny                         Cool




                                                                         4/29/2014               . Previous              review


                                 They       damaged                everything            and          I rnean           EVERYTHING

                                 they      moved           and      sent         me     a check              for    200       bucks.         Forgot
                                 to mentiori        they pay                for    damages                   based         on what        they
                                 think      it weighs.   Seriously,                     dori'tevery    use them.                         Unless
                                 you      have       a good          lawyer,           not worth   pursuirig.




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           Lucia     M.
                                                                                 5(1 2/201            5
           New York,           NY
                                    The      warst           experience                 that       won't          end.        Flat      Rate         is
                2f        (j
                                    completely                 incompetent                      and       dan't        care       about        any
            6   11 reviews
                                    customers                 except          to get            their       money.            If you         have  Ikea                   or
                                    furniture           you      don't           care      about-they                   are      perfect.           They             are
                                    not     cheap            either        and       their        customer                service            is non
                                    existent.
                                    The      Short:           The      rnavers             were           like     animals-rolling                        my
                                    furniture           like     a wheel,               padding                 inadequately                 or even                at

                                    all, scratched                  a gouge               in my           hardwood                fioor       in my         apt
                                    and      lied      about          it. tore         my couch,  used   my pristine     couch
                                    cushions             ta pad            the     tv,  broke  my tv and  many     other
                                    damages.              They          sent        All      Furniture              Services                to repair               the
                                    damages-with                      half       assed           materials,               and         low     costs         that
                                    are     not       correct.         The          repairman                   said      he was             going         to fix
                                    Flat     Rates            damages               ta aluminum                     non-painted
                                    handlebars                 with        paint!         How           is that        right'?        Or fill a huge
                                    piece        of missing                walnut           an        a drawer             with        filler?!
                                    Now        their lawyer                  has        threatened                 me ta try              and      wear             me
                                    down.         DO yourself                     a huge           favor          and move                  with     someone
                                    else.      They           dan't        fallaw         through,               yau      can't        seem          to get
                                    anyone            ta take          any        action          or at minimum                        empathize.                    Qn

                                    tap     of it all.         they        missed            a whole              sheet          of my         claims.               I
                                    think      it's     because              they         try     and       settle        without            contacting
                                    their      insurance               company,                  and        have          a max          pay out-which
                                    law     balls       outrageously     all of my high end                                            designer
                                    furniture.          Which     is sa unjust  and unfair because                                                      I had
                                    ample         coverage                 through              them.            Naw       I am                           again-
                                                                                                                                       waiting
                                    it's already               been         4 months                  and        now      no one             responds.                    I

                                    may        have       to go to court,                       which           sucks,          but       I will    if needed.


                                    The      lang:        Based             on      a friend's              recammendation.                             I trusted
                                    Flat     Rate        to move              my        high-end                 designer             furniture            from
                                    New        York       City        an     8/20/1          4 inta         storage             far     6 months,                   and
                                    then       from       storage   to Los Angeles    on 2/7/15.   This                                                    friend
                                                                         service"
                                    described             a "premium               move  that included                                                          a
                                    master            electrician.               expert           crating          of her         designer                furniture
                                    and      careful           packing.             I received                  only      the     most
                                                                                                                                service"
                                    incompetent                  movers             for      my "premium                                           move              with
                                    Flat     Rate       resulting                in damage                  to nearly             all of my               mast
                                    prized          possessions.
                                    I spent           close      to $9.000                 far this             "premium               service",
                                    trusting          that      my      money              would            buy        expertise             and          the
                                    movers            would           pack.         move.             store        and        take        care       of my
                                    items        in a way             that        reflected               the     cast.       The         3 movers                  your

                                    company              sent         ta pack             my      apartment                   handled              my
                                    expensive                designer              furniture              like     amateurs                 and      in the
                                    process          badly            damaged                   my impeccably                         refinished               fioors.
                                    which         I had to repair                   days          before I closed                       on the            sale           of



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           my apartment.
           If that wasn't               bad       enough,             now          I ¶nd      that     their         lack         of
           care       and      attention            has          resulted          in extensive                 damage                   to
           almost        all of my              fumiture.            I am        incensed              that      I have             to
           spend        time        and         money            dealing           with     yet      another               claim
           and       replacing            broken            items          during         a time         that        is already

           very       stressful           with      upheaval               and       change.
           The       movers             came        on August                20th    to my home     on the
           upper        West        side         of Manhattan.                   All of my fumiture    was
           pristine         and      in mint           condition,             delivered   with white    glove
           service          to my         gut     renovated                apartment,                where            it
           remained             until      my       move.
           The       main       mover            sourided            con¶dent               and        knowledgeable,
           saying        that      he would               take       care        to pack            my     items,               but the
           service          I received             was       incompetent                    beyond            belief.             My
           floors      were         not     protected.               My grandmother's    antique
           credenza             was        rolled         like     a wheel  on top, side and bottom
           to make           it onto        the     dolly.          Items        were         packed            with            dirty
           newspaper                or arl        insufficient              amount            of dirty          and         tattered
           blankets.            Many        delicate              items.         including             electronics,
           desigrier          lamps,             designer            chairs          and      artwork           were              thrown

           loosely          in boxes             without           arly     protection               whatsoever.
           There        was        only       one       man         dismantling                  and     poorly             packing
           my designer    captain's                          bed          (which       resulted            in the
           damages     to my floor                        and       the      prior        claim).        I expressed                      my
           concern   many   times                         throughout                the     move,          but       they
           continued             like     gorillas          with          all of my         possessions.
           I expected              a level         of service               which         was        professional,
           expertly          orchestrated                  and       would           protect           my expensive
           belongings              during           the     move.            I am         shocked             and
           heartbroken                  by my        experience.

           My       second         rep      Nick        was         Utterly  Unreachable                        while             I was

           scheduling              the      move           out      of storage.
           It had already                 taken         me        precious             days       to repair                my
           floors,      catalogue                the      damage             to my          furniture           and             replace
           essential            items       upon          my       move.
           Now        during        the     claims           process               I have         come          to
           understand            that           a insurance                 repair         company              believes
                             "repair"
           they       can                        some            of my       designer             fumit          re.       Based
           on   my experience    I have a complete    lack of confidence
           that   this can be done   in any type of professional    manner.

           Additionally,   some  of these   pieces are collectable
           expensive               items         from       Design           Within           Reach           that         if
           "repaired"
                                 will     diminish               if or negate              the    value         entirely.
           I hope        to shine           a light         on      Flat     Rate's           incompetence                         and
           prevent          this    from          EVER            happening                to anyone                 again.




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           Nadia       S.
                                                                                              4/28/2016
           Brooklyn,        NY
                                                       I used      flat     rate      movers           for a long             distance           move          from
               0 friends
                                                       Brooklyn.           My      items        were        kept       in storage             for two          weeks.
                13 reviewS
                                                       Alter     they       delivered            my     items          and         I Unpacked              everything
                                                       I discovered             several             expensive               designer            items       were
                                                       missing.           I trusted          that     my possessions                       would           be safe         in
                                                       their     care,       and      irlstead         someone               went         through           my
                                                       belorigings            arid     stole        from        me.




           h    A.
                                                                                             5/7/2015
           New York,        NY
                                                      STAY       AWAY           FROM            FLATRATE.                   Cross-country                   move
               0 friends
                                                      NYC        - SF.     Flatrate          truck      flips      over       er1route           and        damages
               13 reviews                                                                                                    $30K+
                                                      nearly      everything               I own,       causing                              in damages                and
                                                      months        of work            to rebuild           my      life.     Some           stuff     never
                                                      arrived        including           valuables              arid        sentimental               items.          No
                                                      explanation.              Full     value         coverage               was         purchased              b t
                                                      Flatrate       refused           to honor             it, making              insulting         settlement
                                                      offers      starting         at $0.60/Ib.              I am      an     experienced                   attomey
                                                      and      I know        the      law.      They         breached               our     contract           and
                                                      violated       federal           maritime             laws       (Carmack              amendment
                                                      read       up before           you       move).           Law         suit     to follow             along      with

                                                      heavy       online        venting.            BUYER              BEWARE.




                             Mike      M.
                                                                                                                    8/21/2015
                             Manhattan,          NY

                                                                            They        broke         a $1500           glass         table          and     gave      me       S75
                                    23 friends
                                                                             restitution            for the        claim.          Really?




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           KaMn             a
                                                                              7/16/2014
           Palo Alto,       CA
                                      DO NOT USE                       FLAT        RATE          MOVING                FOR A CROSS-
                 197 friends
                                      COUNTRY                  MOVE!
                 2 reviews

                                      I engaged              Flat-rate           moving           for     a move          from          New      York's
                                      West        Village          to Pacific            Heights          in San          Francisco.


                                                               in the        up-front          process           was       seamless              - the
                                      Everything
                                      salesperson,                 the     teams          arrival         and      packirig job               in New
                                      York   -                     me     great        confidence                in the move.
                                               giving
                                      Everything               that      happened               alterwards             was         no    short         of
                                      disaster.


                                      The      delivery            window          was         mis-recorded                and          I was      called
                                      one     week           before          I has       moved          into     my      apartment,                so my
                                      belongings               had       to go        into     temporary              storage.


                                              two  most valuable                       items         - a valuable            oil                            and
                                      My                                                                                            painting
                                      my      sofa - both arrived                      damaged.


                                      The      oil    painting           arrived         with        a massive            hole      in the            canvas
                                      and      had      not        been       handled            as guaranteed.                    The
                                      salesperson                  and     moving             team        in New         York       guaranteed
                                      the     valuable             oil painting              would        be trarisported                 via      a crate
                                      which          would         have       avoided            this     type     of damage.                   The
                                      crate       was        not      used       as     promised.


                                      The      claims          team        did     not       understand             the      differerice
                                      between            a breach               in services             promised            and         insurance.                I
                                      am      now       out-of-pocket                  riearly        $1,000          in repairs           from         my
                                      move,          and       haveri't         even         explored           getting       the        sofa
                                      damage            repaired.


                                      Terrible,         horrible          customer               service.         This      was         a very

                                      disappointing                   customer            experience.              Save          your       self       the

                                      pain,     worry          and        money          and       find     another          moving             service.




           Mna      a
                                                                              9/28/2016
           PIliladelphia,        PA

                                      Absolutely             terrible!          They         sound        great        when         you        talk     to
                0 friends
                                      the     salespeople                 but     once        you're        on the         other         end     of it,
                4 reviews
                                      saddled           with       shattered             plates,        damaged              furniture                and

                                      unwrap          your         now-damaged                     belongings              and      valuables,
                                      there's        all of a sudden                   rio one          to talk       to or provide                   any
                                      assistance.              Avoid         at all costs             or you¶          be truly           sorry!




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            Sam        J.
                                                                            9/17/2016
            Manhattan,         NY

                                     They        broke          many       things.          They        promised            one    rate       but
                 0 frierids
                                     charged             a higher          one.      I had        to argue           with   them        for
                  3 reviews
                                     months            over      a rebate            owed       to us arld            never       received.

                                     They        avoided            phone          calls     and       never      called          me    back.
                                     Terrible          experience.




           Jams          D'
                                                                           4/7/2015
           Brooklyn,          NY
                                    Bunch          of cowboys.
                0 friends
            O   5 reviews
                                    There        guys          moved         us,     totally        damaged             a brand         new
                                    mattress             and     everi      though           we      paid      for the      additional
                                    insurance             policy,         they     refuse         to pay        out     for the        damage.


                                    Their       customer             service         team           leave      a lot to be desired.
                                    Charmless                and      unhelpful            would        be a huge
                                    understatement.


                                    Would          not     recommend.


                                    TIP:       If you      do       end    up      using this company,                      DO NOT waste
                                    your       money           on    paying         them   for additional                   coverage.               It's   a
                                    scam.




           Mna      F.
                                                                           8/17/2012
           New York,          NY
                                    THE        WORSTI
                1 friend
                                    Had      a bunch            of our       stuff        stolen.
                28 reviewS
                                    They       even        threw        out my plant.
                                                                       rate."
                                    It was       not      a "flat
                                    The      movers            complained              the      whole         time      about      moving
                                    stuff    (so       odd      cause        isn't    that      their        job????)
                                    They       broke           a chair      and       lamp.
                                    Horrible        customer               service.
                                    I really       wish        I could       give      zero         stars.




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           Anna       B.
                                                                              7/31/2016
           Los AI1geles,         CA
                                      WORST             moving            company!!!                   I have        used         them       for 3
               0 friends
                                      moves          thinking           it would           be better             and     finally learned my
                  1 review
                                      lesson.         In my       recent           move           from        New      York to LA nearly
                                      EVERY            box      came          back         with        holes        in it. ZERO CARE.
                                      Boxes       marked            fragile          are       filed      with      smashed               vases,
                                      broken         mugs,         etc.        Sentimerital                 gifts      destroyed             due        to
                                      their     careless           handlirig            of my           belongings.               Customer
                                      service         is almost           never          helpful          at any         point        in the
                                      process.The                 one         nice      thing        I have         to say         is that       the
                                      actual      movers           in NY were                   kind      and        careful        but that's
                                      where       the      good         service            ended.           As      I unpack             I'm so sad               to
                                      see      how      marly          of my things                 are       ruined        but     don't        have         the

                                      energy         to deal        with        their       customer                service        team          as    any
                                      kind     of refund           is unlikely,               knowing             them.        Do yourself               a
                                      favor      and      only     send          belongings                   you      don't      care       about           or
                                      durable         furniture           if you        choose            to use         them.




           Oojwala          R.
                                                                              6/12/2014
           Chicago,        IL
                                      FlatRate          Moving            was        the      worst         moving          company               I have
               0 friends
                                      ever      worked          with.         My      husband               and        I moved           from         NYC to
               1 review
                                      Chicago           earlier        this     year          and       had      heard         great        things
                                      about      the     company.


                                      Certain         items       (glass)            were         not     packed          correctly              and
                                      broke      during          the      move.            Most         of our         items       were
                                      destroyed           due       to extensive                    water        damage             and
                                      mishandling.                Our      bed,         sofa,       clothes          and       very       expensive
                                      entertainment                cabinet            had       to be          replaced           due       to
                                      damages.               We were           only           reimbursed                a small           amount
                                      based       on     weight,           not on price.                    I would         not     recommerld
                                      FlatRate          to anyone,              especially                with       such         high      prices       and
                                      such      poor      service.




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           MaM          Y.
                                                                                11/27/2012
           New York,         NY
                                       OMG.         The         word        fragile,         glass           this     side     up means
               0 frierids
                                       NOTHING                  to these           guys.          They   also             scratched   my                   most
               1 review
                                       precious            furniture.            Broke            my  hudsband's                      passed
                                       mother's            lamp          shade,         even           after        I asked          them         to be very
                                       geritle      with         it.

                                       They        also         take     furnitures               apart        and       don't        put     them
                                       together           right.         I usually         dont         do     reviews,             but       this    was

                                       really      bad          experierice             i just         have        to share.              I used      them
                                       before        and         I liked        them       then.           NEVER               again!!




           stephanie              K.
                                                                                 8/6/2014
           Manhattan,         NY
                                       This                              is the        worst-          damages                 all your          furniture
               41 friends                         company
                                       and       then       does          not    address               the     claims.           My       move        was          in
                5 reviews
                                       the       beginriing             of June          I am          still waiting             for them            to
                                       address            the          numerous            damages                  and        broken         furniture.

                                       Absolutely                awfUI       and       the        people           on the           phone          need
                                       MAJOR              customer               service           training




            Daniel      Y.
                                                                                  11/3/2015
            New York,        NY

                                        They     were     supposed                      to have              two      movers              move        my
                0 frierids
                                        fumiture      (price   was                    over        $1 000).            Only          one      mover
                2 reviews
                                        actually          worked            and        dragged               my      items          across          the        floor.
                                        In doing           that         he broke          my        glass          table        in my        apt     (glass
                                        chard           later     cut      bottom         of my            foot      open).          He      also      wouldn't
                                        move         my         couch        because               it was          too      big for         one      person
                                        and       suggested                I throw           it away.           So       I had       to move              it
                                        myself.           To rectify            the     situation              and       the     very        expensive
                                        glass       table         they       broke        they          olfered           to give           me      $150.          Note
                                        that      the     moving            cost       was         $1,200            and       they         broke         a very
                                        expensive                table.         They      are          unresponsive                   to my          emails             /
                                        complaints.                    I Understand                their       policy          on    breaking             items
                                        but when                you      commit          pure          negligence                 by using   orily one
                                        person           to move            an entire              apt       you      are       asking   for items   to
                                        break.           I highly         recommend                    going         elsewhere




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           Michael        S.
                                                                         3/30/2016
           Manhattan,          NY
                                    Damaged             arid      ruined         a few      pieces        of my        furniture.         Before
               0 friends
                                    starting       showed              a form       that    20%       tip was          required.         I don't
               1 review
                                    recommend                  them.




           sakina         y.
                                                                          9/15/2014
           BLirlingame,        CA
                                    DO NOT USE                    FLATRATE                 EVER!!!!!!!
               0 frierids
                                    When        they      rnove         my furniture               in early      March          2014:they
               48 reviews
                                    broke       a big      glass        table     top,       a marble         co1fee          table     top....
                                    The     mover         took         a picture:          wrote      down       the      damages             and
                                    said    they       II report         to the        company           since       we       bought
                                    INSU       RANCE!!!
                                    It's   been        6 months            and      we      haven't       receive         a single
                                    dime!!!!
                                    When        we      call     the     01Tice in NYC,               they     always          say     it's
                                    INVESTIGATING!!!!!
                                    Never       will    I use      FLATRATE                 AGAIN!!!!!!

                                    They       want      to drag          their     feet     until    we      give      up.




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           Arnanda     W.
                                                                       4(4)2016
           Brooklyn,    NY
                              NEVER             use        FlatRate                for a long             distance              move             Fram
                98 f    (j
                              what         I read        on Yelp            and          other      sites.         it seems             like     they        did
            ~   3 reviews
                              an okay           jab       in a shart               in-town          mave,           which           is why            I chase
                              them.          I-lawever,            far      a lang           distance              mave,           they
                              campletely                 destrayed                 our      belangings,                   provided
                               Inaccurate                informatian                 regarding               how          they      would          move
                              aur     belangings.                and         provided               misleading                   infarmatian
                              about        the insurance                     we       bought           fram         them          to protect              our
                                             We'
                              items.             ve been                    left     with        thousands                 af dollars            af
                              damage              that     we      can't           afiard        ta fix and               replace           our
                                                                                                                                             you'
                              destrayed               items.           PLEASE                   read       the     fallawing              if      re
                              ca nsidering                Fl atRate:


                              My husband                   and      I maved                 fram       NYC to Seattle                      in January
                              and       paid      over         $5,000              for the         mave.           The          representative,
                              Saadi        Agha,           pramised                 us that         they         wouldn't            sub        contract
                              ta any        local         movers,            but         they      did.          I-le alsa         promised               us
                              an     the     phone          that       the         insurance               we      paid         several          hundred
                              dallars        far would             caver            replacing    ar repairing     all of aur
                              items        shauld          anything                happen     ta them.     I-lowever.    our
                              items        changed              hands              sa many             times         because               af the

                              subcontracting                    ta local            mavers,               that     when           our items
                              arrived.          21 aut          of 30 furniture                     items         were           damaged-

                              many         beyand      repair.  Several  boxes   (especially      thase
                                             "fragile"
                              marked                     ) were  damaged    to the  point    that   they
                              were         busted          open        and          so      squished              that      na amount                  of

                              heavy         duty         box     and        bubble              wrap        could          have         prevented
                              breakage.               When             we      submitted                  a claim          far     over        $8,000
                              warth        af broken             items.             they        anly       pravided              us with          enough
                              ta cover            repair        of certain                items,          and      left     us several
                              thausand              dollars        short            to replace              furniture             and      other
                              breakables                 (an     top     af the           thousands                 we      already             spent          far
                              the     mave)


                              The       mavers            were         alsa         several            hours        late         from      the

                              delivery          windaw             provided,                and        praceeded                  to rush          us.
                               There         was         almost          zero         communicatian                         between
                              FlatRate            and      the      local           mavers,            causing              an awful             client
                              experience                 and     a wasted                  day.


                              They         have       since        refused                to provide               us with          the
                              campensation                     agreed              upon          in the      terms           of our        contract
                              far    damaging               over         $8,000             worth          of belangings.                      have         nat
                              reimbursed                 us for any                partion          af the         awful          service          we

                              received,             and        have         refused             ta answer                 any     questions
                                                                                                "resolution"
                              related          to their         inconsistent                                                ta our        claim.            If I
                              cauld        give       them         negative               stars        an Yelp,             I would.             We
                              even         went       to the        Better            Business               Bureau.              and      after       trying



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           multiple          avenues              to get          them        to acknowledge                          the
           agreement               they         initially         made            with     us, they               simply
           apologize             that     we       had        a bad          experience,                    refuse          to
           answer           questions,                and         state that             they       resolved              our       claim
                                                                     policies."
           "in accordarice                  with       their


           We are still out                 several               thousand               dollars            out    of pocket               to
           replace           and     repair           our     broken              items         (21      of 30        pieces              of
           fumiture           and       almost          $2,000              for     china          and       other
           breakables).                  We can't             even           deposit            the      tiny      check   they
           provided                             us cents             on the            dollar         for the         damage-
                              (giving
           NOT in line with                     the     insurance                  we      paid        a premium                  for)         to
           begin        repairing           and        replacing               our       damaged                   items,
           because            they put a disclaimer                               on     the      check      stating                that            if
           we       signed      the endorsement                              line      of the         check,    we're

           waiving           any     claim         against            them          and         waiving            their         liability.




           Their       busirless            practices                of lying to customers                               and       not

           following          through             on the            terms    of an insurance                              contract
           are      beyond          questionable                     and       are       reprehensible.                          We
           dori't      want        to deposit               the     pathetic             check           they       gave           us
           because            we        don't      want           to waive             their       liability        for      what
           they've          done,         but     at the           same           time      we       need          the      funds          to
           fix our         belorigings             and        finally         get        settled         after        3 months                  of

           living      in our       new         apartment.                  This         behavior               is so

           disgusting              and      shouldn't               be allowed                  to happen                    DON'T
           EVER            use     FlatRate,             or this            could        happeri             to you.




           Katherine               K.
                                                                                                                  9/30/2013
           Manhattan,              NY
                                                                    I had         used         Flat      Rate         three         times                and       they       were         great,    but
                    0 friends
                                                                    I think         they        got     too        big for our                 own          good.            They      broke
                    1 re
                                                                    things,          ruined           expensive                  shoes,                  lost     thirigs,      didn't        pack
                                                                    things          and        we      even         ended             up with                   someorge            else's
                                                                    framed             pictures             that      they        still    haven't                 claimed            from       us to
                                                                    give      back         to the           other         people.              The              service       has       been
                                                                    horrible             they         are      using         inexperienced                           crews           and     once
                                                                    the      move          is over           and        we       are       left with               broken            furniture
                                                                    their      response                time         is nill to none.


                                                                    I would            never          use         them       again             arid         I have           beeri

                                                                    recommending                         them         for years.                    Shame.




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           Terese         K.
                                                                                      1/28/2017
           New York,           NY

                                         My       move        was         FlatRate             was          a disaster.             They          smashed                         or
                 0 frierlds
                                         damaged               all of my antique   fumiture,  concealed       the
                  11 reviews
                                         damage              from me leaving      me to discover     it the morning
                                         after      the      move,    smashed    or damaged      many     of my other
                                         possessions                 (china,            glassware                   art works,              books,           floor

                                         lamps,          etc.)       and       failed       to move                 all of my things.                     When                 I
                                         returned            to my         former          apartment                  two      days         after         the      move
                                         to clean            it, I discovered                   that        FlatRate           hadn't         packed                   arid
                                         moved            all of the           food       from         my      cupboards                    all of the             china
                                         and      glassware                in my dishwasher,    all of the                                   supplies
                                         under          my       kitchen      sink and numerous      other                                   items.             (I had
                                         payed          to have            FlatRate              pack         and      move          me.)         So        I had              to
                                         pack       these          things         myself              and     find      a way         to     move           as

                                         many        of them              as     I could.             I had     to leave            a lot       behind.                 I
                                         became              severely            ill as a result                of all of this              with          a bad
                                         cold      that      turned            into     a month               of bronchitis.                FlatRate                   still
                                         has      not     fixed       or made              good             on what          they        broke            though                    I
                                         have       spent          hours         on the             phone           with     various            people             from
                                         FlatRate             -- who           never           call     me      back.          I have        to pursue
                                         them       to try to get                some           answers               as to what's                 happening.
                                         I would          recommend                     that        anyone            who       values            their
                                         possessions                 and        their      health             avoid         this    company.




           AIM       B.
                                                                                      1/20/2016
           New York,           NY
                                         DISASTER.                   Last        summer                Flatrate             moved     my            stuff       and
                  0 friends
                                         held       it in storage               for a month                   prior        to delivery.              After             a
                  7 reviews
                                         flood      in their         storage             facility           caused           literally       thousands                             of
                                         dollars          of damage,                   I received             $60       in compensation                            -

                                         that's      after        their        lovely       customer                  service         representatives
                                         assured             me      how        committed                   their      Doard         of directors                  was
                                         to doing            right     by me because                          the      flood        irl their        facility                was

                                         entirely         their      fault.




           H A.
                                                                                  7/25/2013
           Walr1ut    Creek,        CA
                                         If I could          give     them             0 stars         I would.             Broken           tv, broken
                 3 friends
                                         coffee         table,       broken             end         table,      broken             chair,       broken                 book
               47 reviewS
                                         shelf.      Driver          wouldn't            take          ownership               and         kept  saying                      it
                                         wasn't         his fault......nobody                          would    talk           to me         because                    it
                                         was      after       5 PM..........If                 the     problem              gets      resoled,              I'II
                                         change           my       rating,        for     now....avoid                  therrL.......




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           Geomey         C.
                                                                                 12/1/2009
           San Francisco,      CA
                                    I've     used          FlatRate               four        times         and        stored          my things                 in
               23 friends
                                    their      facility  for a year. The moving                                             men        are     always            great.
               40 review3
                                    They        are frieridly,  on-time and fast.                                           However              storage
               2 photos             was      another               story.          My        items         were        damaged                  wet       and
                                    several          boxes              were          missing              when         FlatRate              delivered                 my
                                    things          from        their          facility.


                                    I honestly             dori't         kriow          how         boxes           can       simply          disappear
                                    from        a storage                facility.           Tracking            these          items          should            be a

                                    priority,        and        they           have          no     idea       where           my       things         went.


                                    In addition,                the      so-called                 climate-controlled                         storage             is
                                    questionable.                               items          smelled                            and         were        damp--
                                                                      My                                            musty
                                    one      box       had         a moldy   item in it that had obviously                                                   gotten
                                    wet      at some             point.   Wax candles      that I had stored                                                 actually
                                    melted           inside           the       storage             Dox.       Their          storage           is

                                    expensive,                so        I expected                  much         more.


                                    Finally,         my       plasma               TV        stand         had        been        dropped               and       was
                                    broken.           this      thing           weighs              about           50 pounds                and       was        likely
                                    stacked            on top of things                            in storage               a fell     from          a height.
                                    That's          just stupid--heavy                             things        on the           bottom--light                   on
                                    top.     Same            thing          with        my         desk--metal                 legs      were          bent           as if
                                    the     had       been            bearing            weight.             How        do you               manage              to
                                    berid       a metal             desk           leg?


                                    I'm totally            done           with        them--I             trusted           them        with         my     worldly
                                    possessions,                    which             isn't        much,         but        it's all    I have            and they
                                    did     their      best         to destroy                 everything.                  And        they      charged                 me
                                    $175/morith                  for      a year             for the         privilege            of their           terrible
                                    service          and        disrespect                    of my         belongings.




           noah    m'
                                                                                  5/5/2014
           South   Orange,     NJ
                                    I have          used         flat       rate       for     3+     moves.                I loved      them           until         the
               72 friends
                                    most        recent           move.            They   damaged     my                           dining         room            table
               25 reviews
                                    and      insisted             that         they  found   it damaged                              and        that       the         light
                                    in my        old       apt was               low      therefore                 i did     riot     see      the       golf         ball
                                    size      divot.         After          several            emails           and         phone            calls     they           told
                                    me that            they        are         only       responsible                  for     $60       but         since       they
                                    value        me        as      a customer                      they      will     give        me     $100.            How
                                    about         fixing         the        table        and         not     making   me send several
                                    emails           and        several             phone            calls    to even   get a response.                                        I
                                    will     never         use          flat     rate        again         and       will     continue               to tell          any
                                    one      who        will       listen          about            my experience.



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              mi   S.
                                                                6/11/2014
           New York,    NY
                              I had     used         FlatRate      exclusively              but will        not     be calling
              34 friends
                             them       again.         On my       third        move       with      them,        I had      very
              21 reviews
                              unprofessional              movers.            They         lost     a very     unique           piece    of
                             fumiture         on a short          move           frorn     83rd      to 20th        streets.

                              Ironically,          no one       was       ever      able         to find    it and     the      check        I
                              received         for    it and     a rnirror        that     was       damaged           was       a
                              small      fraction       of what       the        lost    and       damaged           items       were
                             worth.         Very       poor     service         and      they      have      lost    my      business
                             for    good.




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           Alma          R
                                                                                  12/8/2014
           Long      Island     City,
           Queens,         NY           The       worst       move             ever.The              representative                    was        horrible.
                                        He gave            me        incorrect             measurements                       and        told     me
               0 friends
                                        everything              would            be taken            care       of. The            day       of the        move,
                  1 review              the     movers           told         me all of my fumiture                           was         much          larger
                                        than      their      list       stated          and        he would            have         to charge              me
                                        more        money.              But      if I tipped           them          very     well,         he wouldn't
                                        charge     me           more           money.              Then       they         broke         almost     all of
                                             "Fragile"                                                                                       "electronics"
                                        my                           boxes.         They            took      a box         marked
                                        and       wouldn't           let me check                    their      truck        at the         end        of the
                                        move.        And        they          broke        a large           mirror         and       then        tried       to
                                        convince            me       it was     already                broken              before       they          touched
                                        it. I moved             irito      a brand    new                  building      and          they scratched
                                        the     floors       and         the     walls        with         my    furniture            that each   piece
                                        has       some       kind          of damage                 on the          comers            due        to improper
                                        handling.            I may          even         lose        my      security          deposit            because                of
                                        them.       Then            they       refused             to reassemble                    what         they      had
                                        disassembled                     in order          to move.                 They      lost       every         single
                                        dowel        from       every            shelf     they           removed             during       move.the
                                        And       when        I asked             for    them   to replace                     the shelves   the

                                        guy       asked         me       if I really          wanted            it, I said           yes,       and       he did
                                        one       shelf      and        then       tried       to tell        me that          none          of the
                                        shelves           had       been          properly            hung          when          they      showed                 up,
                                        so     it wasn't         their         fault.      I had       to go out             and         buy      all new
                                        dowels            for every            single         shelf.         Bookshelves,                   desks,
                                        cabinets,            an entire             liquor          bar.


                                        I tried     to report              a claim            and      the     customer               service             lady
                                        kept      hangirig              up on       me        and         telling      me      that       I probably
                                        heard        incorrectly                or it was            my      fault      something                 went
                                        wrong.           Or that           if I have          Ikea        furniture          theri       they         can't        do

                                        anything   because                        it's cheap   and damages     easily.                                     I don't
                                        own anything     from                       Ikea   and found  her incredibly                                      rude
                                        and       unhelpful.


                                        Overall           a horrible             experierice                 and      I would            NEVER             use
                                        them        again        or recommend                        them           to anyone.               Terrible!




            Holly      R
                                                                                   6/16/2016
           Water       Mill,    NY
                                        total      scam         artists,          and         heaven           help         you      if they          damage
                  0 friends
                                         something               and        you         need        to file         a claim         EVEN              IF YOU
                    5 reviews
                                         SPRING              FOR THE                    EXTRA              INSURANCE.                       never         again.




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           Alison      G.
                                                                              8/17/2013
           New York,        NY
                                    I have         NEVER               written          an onlirie              review            before         but      our
               0 friends
                                    recent         move           was        such        an absolutely                       horrible           experience
               2 reviews
                                    that     I was         motivated                  to do        so.      First       off,      our     consultant              did
                                    not thoroughly     discuss                           or explain               the        optioris          for     excess
                                    insurance.     That would                            have            been         fine      had       the     sloppy
                                    and      careless             moving              crew         drop        arid      break           a $1300
                                    concrete             console             table,          burn        a hole         in the          mohair

                                    upholstery              on        an $8000               sofa        and      cause             major        chippirig
                                    on     a Ligne              Roset         media          console.               We spent                hours           on the
                                    phone          with         the company   and after speriding    over $2500
                                    on     this    move           we were told that because     of a failure to
                                    purchase              the      excess             insurance                there         was        riothing          they
                                    could         do.      Not        only      will    we         never          use        Flat       Rate         agairl      but
                                    I will    be sure             to tell       any      who         ever         asks          (and      them          some)
                                    to steer            clear.          Did     i say         horrible?




           John       M.
                                                                              4/15/2014
           Dallas,    TX
                                    I have         used          these         guys          twice         and        both        times         they broke
                  0 friends
                                    my       stu1T. including                  expensive                  antique              furniture.           Twice
                  1 review
                                    they      tried        to cover            it up.          They          are       shameless                  high
                                    pressure              tip     seekers             too.         Overall          a very          scummy
                                    business.




           M W.
                                                                               6/24/2014
           Toronto,        Canada
                                    LIARS          AND            THIEVES.                   Avoid         this       company               at all cost.
                  O friends
                                     We hired               FlatRate             to     move             treasured              family  heirlooms.
                  3 reviews
                                     When           the         shipment              arrived,            items        were        damaged      and
                                    some          were           missing          altogether.                  Attempts                 to follow-up              with
                                    the      company                  regarding              the     missing             arid       damaged                   items
                                    were          more          or less        ignored              ur1til legal             action         was
                                    threatened.                   Instead             of trying           to help            us     resolve           the

                                    problems,               FlatRate             simply   denied  all responsibility.
                                      FlatRate             provided             what    was perhaps    the worst                                       moving
                                    experience                   of my        life.      Shame              of FlatRate                  for their
                                    abysmal               performance                   and         service.




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                uW.
                                                                                .2/23/2012
           Sari FraI1cisco,        CA
                                        Their     customer                  service           department                 and      storage
                0 friends
                                        management                    folks        are      quite         nice.      However,               the     moving
                 34 reviews
                                        crew      can        be spotty              in terms              of their       care      of your           items.


                                        While         packing,              I had     stopped               one      member                of the       crew
                                        from     wrapping               a glass             Tiffany         lamp         in a single               sheet       of
                                        paper         and        puttirig       it in the           box.        I explained                to the       foreman
                                        that     is was          very       fragile         and       they        put     a few           more      sheets
                                        around          it and        said      they          would         take        care      of it, they             knew
                                        what      they       were           doing.


                                        Upon          arrival,       I opened               the      box        to find        a 151b brass                lamp,
                                        stereo         and       alarm        clock           in the       same           box     on top           of the

                                        Ti1Tany lamp.  Needless                               to say the Tiffany  lamp was
                                        shattered  to smithereens.                                25% of my picture   frames                                     that

                                        they     packed             were        also        broken            and       my      furniture           suffered
                                        damage            that       also       needed              repair.        They         didn't       use        bubble

                                        wrap      for     any       of the          fragile         items,         and      the       result       was
                                        devastating.




           Cyndi        N.
                                                                                5/7/2015
           Marillattari,      NY
           i                            very     bad        company,stole                      all my           experisive            crystal,
                 10 friends
                                        5300.00           of damaged                     goods         tryed         to settle            claim      for
                 3 reviews
                                        260.00          .stay       as far          away           from      them         as    you        can      get     .rolled

                                        my solid            mahogany                 tabletop             out     the     door        --go        use      big
                                        johns         or anyone              else.       their       customer               sevice           is a joke           and
                                        will    not     let you         talk.       their      word          is no good               .




           2       W.
                                                                                5/4/2011
           Dallas,      TX
                                        A TOTAL              DISASTER!!
                 0 friends
                                        $8,600           worth        of damage                    to my        fumiture.                 I used
                 2 reviews
                                        FlatRate's               recommendation                           to us MovingInsurance.com
                                        and      they        denied           my      claim         stating          that       FlatRate            incorrectly
                                        packed            my      furniture.              I would           NEVER               use        or recommend
                                        FlateRate                Moving         or MovingInsurance.com.                                        BEWARE!




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                       L
                                                                            3/3/2015
           Larkspur,       CA
                                 I will      say this.   They   do stand    by their price                                        guarantee.
               0 friends
                                  The        price you're   quoted    is the final price.                                        The        reason              for
               6 reviews
                                 one      star       is the         pure       incompetence                      of the         movers
                                 themselves                  and      the      customer                 service         team       in takirig             care
                                 of damages.                   Simply            put,        they       moved           a $3,000            dinirig
                                 table       across           the    country     and when    it was unpacked      there
                                 was       a severe              crack    in the table   essentially   rendering    it
                                 useless.             The        mover      acknowledged       the crack   and signed
                                 off    on    it.     The      crazy          thing          was        that    this     table      was         wrapped
                                 in nothing            more          than        a blanket               while         some       ugly        cheap
                                 picture         I had        was       place           in     a wooden                crate      like     it was              the
                                 Mona         Lisa.          Pure       stupidity.              Anyway,             guess         what          Flat
                                 Rate        gave          me for          restitution               of the      table??          $120.             Not
                                 $1,200.             $120.           When          you         don't       take     responsibility                  for
                                 other        people's              goods          of course              you      can charge                low         rates
                                 and      guarantee                 them.          If you're             moving          a burich           of stu1f
                                 that     you        don't       care        about           and      simply           want      a price
                                 guarantee              go       ahead           and         hire     them.            If you     have          anything
                                 at all that           you       care        about           hire     another           company.




                                                                            10/13/2009
           New York,        NY
                                 I wish         I could          rate      them         with         negative           stars.         I would             rate
                3 friends
                                 them         higher          if they        did      not      happen             to lose        one       of my
               a reviews
                                 boxes!!!
                1 photo
                                 First       of all     I used          them         because               they        were      one        of the
                                 movers             recommended                       by      my riew             building        and        despite
                                 the      much         higher(almost                     50%          higher)          price      I felt     like        my
                                 belorigings                would          be better             taken          care      of      The
                                 appointmerit                 was       easy          to arrange                 and     I did     find      their         staff
                                 helpful.


                                 However              the      higher          price          turned         out       to not     be       reflective
                                                                                                         'lost'
                                 of the       quality          of service.                   They                  one        of my        boxes           in
                                 the      move.            Somewhere                    something                  happened              that       a huge
                                 box      got       misplaced.......                    This         box       happened            to be a Dox

                                 containing                my snowboarding                            gear.        On     top     of this,          unless
                                 you buy             the    insurance   they                     will      screw        you.       They          will      only
                                 pay      you        aprox          .60/Ib       of the         estimated               weight       of the              box.
                                  When           you       are       payirig         such           a premium             compared                  to
                                 other        moving             companies,                   this      is rather         unexpected.


                                 Definitely            stay         away         from         these        people.             They        offer         ari
                                 inferior           service          inspite        of the           higher        prices.




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           Reviewer          P.
                                                                                 5/2/2007
           New York,         NY
                                       AVOID          THESE               GUYS                IF YOU            VALUE           YOUR
                 1 friend
                                       FURNITURE!!!                           - I am                        1 star        because              there        is no
                                                                                          giving
                 6 reviews
                                       option        for     0.
                                       I have        experisive                 fumiture              and       wanted          to hire          reputable
                                       movers          for      my       move           last       week.          Flat      Rate         was    very
                                       frieridly      on       the       phone           arid         reassured             me      that     I'd be very

                                       happy         with         the     results.            Come          the       day     of the        move,    the
                                       movers          were             1.5     hours          late      (how         many         times         do    I have        to
                                       hear        about          getting         stuck            in traffic         at 8:30am             in
                                       Marinattan?                 Leave             early!!)          and        to make           up for         lost      time,
                                       they        began          Danging               around           the      furniture         to have            the

                                       wrapping  done    quickly.    The result   was that                                                 every        sirigle
                                       one of my furniture     items    has cracks   dents,                                                 and        huge
                                       tom-off        parts.            I now          have         to go       through            the     lengthy
                                       process             of filling          out      the     claim          form       and      sending             in
                                       pictures            of the        damage               with       zero         promises            of
                                       compensation                      from          them.




           Jon      O.
                                                                                 2/3/2009
           Miarni    Beach,       FL
                                       Horrible            service            - will     not                out     for     insurance              claims
                 0 friends                                                                         pay

           O     2 reviews
                                       If you       use       them            - don't         bother               irlsUrance.
                                                                                                          getting               They
                                       trashed                    fumiture              and        refuse    to pay out. It's a shame                                -
                                                       my
                                       because              I used            to like     and         recommend                    them.         Now        I will
                                       never        use       them            again.          I'm surprised                 they     haven't            been
                                       indicted        on insurance                      fraud         yet.       Absolutely              amazing.




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           Sam     D.
                                                                               11/17/2008
           San Francisco,     CA
                                   DON'T           RISK           IT.     We did a NYC - SF move                                         in July,          based
               0 friends
                                   on     a frierids          recommendation                                 we     went        with     Flat        Rate.         A
                 12 reviews
                                   few      other      movers                 had         better         prices         but     the      staff     was
                                   professional               and         they         seemed                 to have           their     act      together.


                                   We didn't           have             too     much            (no      furniture),             but     had       some
                                   valuables              (art,     electronics                       antique          carpet)          so,      just      to be

                                   safe,      we      paid        more           to get          extra            insurance             on the          move.
                                   Movers           were          clean          and        efficient             on    both      ends.


                                   However             once         everything                   was          unpacked             we         found         many
                                   items      that        were          damaged                  that
                                                                                              could    have been                                   avoided.
                                                                                                crate"
                                   The       paintings             were          in a "secure             but were                                   not
                                   wrapped            when              they were                p t in so two frames      were
                                   chipped.           Office             chair had               a busted    wheel    Torn lamp
                                   shade.          Cracked               bookshelf.                Irritated  but nothing   that
                                                                                                                                              - two        3"
                                   couldn't          be repaired.                   Until        we          saw       the    carpet
                                   tears.      This        was          arl    antique                that     had       been         in the       family          for
                                   decades.


                                   4 months            later        we         firially         get     the       assessment                  from         Flat
                                   Rate.       Denied             on the            carpet.             Denied           on     many          of the
                                   others.         Approved                   for 475$             in damages.                   Conveniently
                                   enough           the     deductible                    for the            insurarice           - 500$.


                                   If you      don't        care         how         your          possessions                   get      to you,           feel
                                   free     to go with              Flat        Rate.           Otherwise                find     a better              option




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           Nomaan      A.
                                                                          10/19/2009
           New York,       NY

                                Stay       away        from         these         guys.
               0 friends
           O   1 review
                                Dont       take       my word              for     it go     look        at movingscam.com                            or
                                complaintsboard.com


                                Here        are the          cliffnotes            on     my      experience.


                                Took        18 days           to get         my     stuff        from      LAto           NY,     and      when

                                they      showed            up they              had      lost     one      BED           and     8 boxes.

                                They         werit        to go hunt              it down          and      showed          up THE NEXT
                                DAY         with      the     rest        of the        stu17 (except                 2 boxes).  Most

                                everything             that        they      moved           is damaged.                    I am       submitting
                                pics      to the       better         business              bureau          to show             them        the
                                horrible           condition           our       things          arrived         in-boxes              were
                                ripped                       arid     crushed--              all of our            clothes          were                         it
                                              open,                                                                                              filthy
                                was       a complete                 disaster.            Pretty         much            anything
                                breakable             was          broken          except          for     our     tv.


                                They        were       supposed                  to assemble                our       furniture           upon
                                arrival       but they             had      no tools             and     didnt         know        how      to
                                assemble              anything             so     I had        to put       it together             myself.


                                They        paid      a non-english                     speaking            man           OFF       THE
                                STREET               to help          move         our      boxes          (REAL
                                PROFESSIONAL                     SERVICE)    and he damaged                                              our      foors
                                and       walls.       If I wanted   a bunch   of randoms  to                                          move    my
                                stuff     I would           just     go     to Queens                  myself         and       pick      up some
                                movers.


                                They        accidentally                 brought           someone               elses          boxes       to our

                                place,       ripped          the      box        open       to show              me       its conterits,            and
                                so      I told      them           it wasn't        mirie.         They          forgot          it in the

                                hallway            of our  building                and       left and           our      maintenance                  man
                                assumed              it was trash                and       threw         it away.          So     if one        of you
                                used        Flatrate          and         is missing             a box      full       of DVD's            I can          tell
                                you       why       you      no longer              have         your      movies.


                                They        are      a complete                  disaster         as     a company.                    AII of these
                                5 star       ratings          are     obviously              fabricated               by the        comparly-I
                                just     wish        I was         smart         enough           to have             figured          it out     before
                                all my things                were         ruined.




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           Nam         E
                                                                          12/1/2011
           Atlanta,   GA

                              My     husband               and         I used          Flatrate             for     a lorig           distance                move
                0 friends
                              splitting         our       New          York         apartment                to Philadelphia                          and       Ann
                6 reviews                    Michigari.             We received                       in home              quotes              from
                             Arbor,
                              several          companies                     and      Flatrate              was       pretty            competitive
                              and      the     representative                        (Yuval)           we         dealt         with        was       very
                              responsive                 and       helpful,           so we           decided              to go with                 them.
                             We thought                  we       were          in good              hands           but        right       before            our

                              move,          we        began           to feel        a little         leery         about            the
                             communication                         and         unprofessionalism                            of the           insurance

                             company               (Movinginsurance.com)                                       affiliated               with      Flatrate
                             because              they had several       people                               call        randomly     to get
                              information                we       had        already           given          and          they continued     to

                             try     to sell       us on getting                     more            insurance.                 At one            point,            I
                             thought            Flatrate            sold        our        information                to telemarketers
                              because             we      had          gotten         so many                phone              calls.         Despite
                              some        skepticism                   we      went          ahead           with         the     move.               Our
                              Philadelphia                 items           were        scheduled                   to arrive              a couple                  of
                              months           later       and         our       Michigan              items          were             scheduled                    to
                              arrive      the       month           following                that.      TALK          ABOUT                  A
                              NIGHTMARE.                         The        movers             arrived             and      set         up everything
                              as they          should            have          but     while          unpacking                   we        noticed
                              several          items            (iPod,         iPhone,             drawers/               cabinets               of kitchen
                              supplies            that       werent             even         packed               from          our      NY

                              apartment)                 were          MISSING                 and      several             other            items

                              (dresser,            side         table,         mirrors,            picture          frames)               were
                              BROKEN.                  For       the      items        we       could             see, we              complained

                              immediately                  but         it wasn't           until      after        the      movers                left that               I
                              realized          they         put       our      dresser              together              on     its stand,                 but
                             the     stand         was           BROKEN                   in HALF!                They          knew           this          didn't
                              bother          to inform             us and            set      it up         in our        new           home          as if

                              nothing          was        wrong              with     it. Imagine                  our      frustration,                    until
                             we      realize           chhhh            we      bought             insurance,                   so this          should                 all
                              be taken            care          of...Well,            that      was          NOT the               case.            The
                              insurance                comparly                affiliated            with      Flatrate               denied           every
                              item     on our            list     stating           that     the       Flatrate             movers                neglected
                             to wrap           arid       pack           the     items      correctly    (mind  you                               we        paid
                             for     packing             and       moving             services).      In my recent                                attempt                 to
                             contact           customer                  service           at Flatrate                the        representative

                              (Jennifer)            was          rude          she        over-talked                me          and        tried      to
                              blame  my husband                              and       I for       items       beirig            left behind                  in
                              NY. Based  on that                          disaster,             I truly       doubt             the      integrity             and
                              professionalism                      of this           company,                 and         I don't         expect              that

                             they      will       do     anything               to rectify            this        problem.               We feel
                             duped            by using             their        insurance               company                   because               clearly
                             they      never            intended               to pay          for     anythirig             that        was
                             damaged                knowing                 Flatrate           movers              wouldn't              pack          it
                             correctly.            We literally                 spent          about          $5K          with         Flatrate             for




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           this        piss    poor        job     and      we    will     have         to spend             several           more
           thousand             dollars           to replace             the     items        they       broke.          Our
           opinion            - BIG        MISTAKE               in usirig           Flatrate.         We should
            have        gone        with         Mayflower            or one          of the         other     long
           distance            moving             companies               that       have        been        around
           forever.           When          we      move         back          to NY       next        year,      we       won't
            make         the    same             mistake.




           Caroline            H.
                                                                                                          &2MO
           Alistill,      TX
                                                                 Where           to start?           The       long        distance            move          was        a disaster.
                  0 friends
                                                                 Despite             having         an     in-home             survey          with         one    of their
                  21 reviews
                                                                 moving           "experts".              I had       to pay           an     additional           amount
                                                                 when          the     movers            came         to load           the     truck.         I also     got      their

                                                                 packing             services            and     should              have     just       packed           myself.
                                                                               broke       the       marble                   of a co1fee              table       and     dishes-
                                                                 They                                                top
                                                                 only the            expensive               ones,         of course.            They   lost the                screws
                                                                                                                                                         4'x6'
                                                                 to mount             my      wall      lamps.          They          even       lost a
                                                                                                       10'x12'
                                                                 photograph                 and                         rug     for two         weeks.


                                                                 Bottom          line       is the       movers            were         slow         and     80%         accurate.
                                                                 That      extra        20%          translated               into     a huge          headache.                I'm still

                                                                 trying        to replace              or fix all of the                items         that     they       broke.       Flat
                                                                 Rate       customer                service          was       good,          but they           are     so far
                                                                 removed              from       the      guys        who        are        packing,           loading,         arid

                                                                 moving          your         stuff,      and     those              guys     are      making            mistakes
                                                                 which          mean         that      your       stuff       is gettirig            lost    and        broken.


                                                                 Oh       and     did      I mention             that     my         move        was         really
                                                                 expensive?                 Too        bad     you       don't        get     what          you pay        for....




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              an   M.
                                                                     12/26/2013
           New York,       NY
                                this    company             is a joke.             they      destroyed          the     riicest      piece
              0 frierids
                                of furniture          me      and        my wife          own.         when      they     uriwrapped
              1 review
                                our     $1500       dresser          there          was        a huge     chunk         out       of the
                                front    of it.     the      movers          immediately                admitted          to the
                                damage          and        asked         me to file            a claim.        after    a month            of
                                radio     silence          from      them           I called      today       to be     informed           that

                                they     had      serit      me     a check            for $180...with             no explanation.
                                 when      i dug          further        i found       out      that    in their       agreement

                                they     are    only        responsible               for damage              up to $0.60/1b.
                                 they estimated       i had                 300Ibs,            so 300     lbs x 0.60          per     pound
                                = $180 for
                                              destroying                    my $1,500    dresser.     if you have

                                anything          you       value         chose a different    moving     company.
                                 these     guys           have      no reason             to take care             of your
                                                                                       print"
                                belongings            with       their     "firie              coverage.




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                                                                          6/15/2012
           Brooklyn,       NY
                                I would           not     recommend                    this       company                 to my        worst
               O friends
                                enemy.            We were                up-sold            to the        Elite      service               because              of
               3 reviews
                                our      valuable             mid-century                   and      danish             modern             furniture
                                and       artwork            and       even        bought            extra          insurance               on the
                                advice           of their         rep.     The         movers             were          extremely                fast         and
                                careless            with       our       items,        they         moved            a large           2 bedroom
                                apartment                in less         2 hours         by shoving    Eames    chairs                                     into
                                boxes        with         no packing                 materials   betweeri   or around
                                them.        We specifically                      requested                 3 art boxes                 because                of
                                the      number              of pieces            we       have         and                                brought             2--
                                                                                                                   they       only
                                cramming                $800         photographs                     and        vintage          paintings

                                together-resulting                         in stretched                   and       tom       canvases                   and
                                damage             to custom-framed                            pieces.            our      stuff       went           irito
                                storage           for 30         days          and      now         all of my             textiles          (rugs          etc.)
                                smell       like        a musty           basement.


                                2 pieces            of furniture               were         damaged.                 One         being           a mid-

                                century           side       table        that       retails        for     $700          and        the        other

                                being        a Sappara                 shelving              unit     from          Design            Within             Reach
                                that cost           $1100            and is still             sold        there.        The        top      was
                                cracked            on      3 sides           as      a result           of one          of the        movers

                                rolling      it onto          a blanket               alone          (I watched                 him        do     it!)    it was
                                clear      that         rather       thari        waiting           for orie         of the           other         guys          to

                                help       out     he wanted                 to finish            as quickly               as    possible.                 Flat
                                Rate       sent         an    evaluator               out      to look          at the          damages                  who
                                told      us that          DWR           and       MCM            fumiture              were         of the         same
                                value       as Ikea              to him.          Eventually                they          offered           us a total
                                of $150           to compensate                     for our             broken            furniture              and       some
                                custom-framed                       art they           tore.        This        is WITH              the    additional
                                 $10,000            dollar          insurance               coverage                that        we     paid        extra
                                forl!!     AII of this            and      their       customer                 service            is horrible.                We
                                had       to call        often       to get          any       information                 regarding                 our
                                claim       as well           as to communicate                             about          the        original            move.

                                They        often        would           not      return          our      calls        and      when            we       would
                                get  ahold   of them   there  were excuses   such as. "I was                                                                      out
                                        country"                                  sick"
                                of the              and "I apologize,  my dog is        (I car
                                not      imagine             ever       telling        a client           this!).


                                They   also ended   Up charging    Us an additional   $100
                                because    their own rep underestimated       the amount   of
                                stuff we had, everi   after an in-house   estimate.   So much
                                for      a '¶at     rate".


                                I've      moved           with       2 other           companies                    in NYC,            Doth        were
                                cheaper            and        there        were         no damages.     I guess  the                                     adage
                                                                                     for"
                                "you       get     what          you      pay             is not always    the case.


                                DON'T            DO IT!


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                S'
                                                                        6/7/2010
           New York,        NY
                                 DON'T           USE       THEMI
               0 frierids
           D   6 reviews
                                 First     time,  they were   pretty good.                                 Second        time       we      used

                                 them,       they  folded our  brand  new                              mattress          IN HALF             in the

                                 truck,      dropped             a bunch            of boxes           down      the      stairs,        and
                                 broke       about         $400         worth        of brand           new     chinal


                                 Yes       we      were         newly   weds   when    it happened     and they
                                 broke       our       new       china.   When    it happened,     they suddenly
                                 stopped           being         useful       at all          because         they     knew         they
                                 wouldn't          be getting              a tip anymore.                  When        we       called       the

                                 office,     they        said      they       could       pay        about     $40       for     the
                                 damages.               Really?


                                 Get       someone              better!         They          are    cheap,      but     riot     worth          it!




                                                                          4/7/2009
           New York,        NY
                                 HORRENDOUS.
               0 frierids
                                 Where          do     I start?
               4 reviews
                                 $1000          to move           a one          bedroom.
                                 Over       an     hour       late.
                                                                                                                                        5pm"
                                 "Guaranteed                 destination               would         be completed                by                    for
                                 me to avoid               extra        costs.
                                 Well       movers           being        over         an hour        late     then      took          an hour
                                 lunch       and       I didnt         make         it in until       6pm.      lacurred            excess
                                 costs       because             of it.
                                 Then       they        have       you       sign       01f     rushed        to sign          01f that

                                 everything             was        in good          order.          They     shoved            everything
                                 into      a small        van,         hurried         with     everything.            So       now      I sit with

                                 paying         the     $1k      for      a simple            one     bedroom            both          buildings
                                 had       elevators,            I didnt        have      a lot, then          iricurred            $500       for
                                 them       not       moving           irl by Spm             and     now     I have           damage
                                 (cracked             , scraped)           on       my desk,           a chipped            glass        table
                                 amongst              others.         Its impossible                 to get    anyone            to call       you

                                 back,       follow        up.        DO NOT GO WITH                          FLAT          RATE!!!!!




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           D   &
                                                                           4/6/2009
           Boulder,   CO
                              Not      a Good                Service.
               0 friends
                              We have                 used         them           several           times         in the         past           after        they
               1 review
                              changed                 owriers.
                              The      salesman                   came   and                 did ari        on site            estimate                and      sold
                                                            "Elite"
                              us on their                            moving                  service.             They           sell     this         as their
                              premier            service             with        the      "best          movers".                He sold            us on
                              the     idea           that                 would           take       care         of our         items           - some
                                                              they
                              expensive                                                                     etc      - don't                            we     will
                                                        fumiture,                electronics,                                           worry
                                                             all."
                              take       care          of it


                              Then        the         day      of the            move....

                              They        showed                   up late          by almost              an hour.               I was           slightly
                              annoyed                 by this           as they           did      not     call      and        I had           to hunt
                              them        down            on the phone  to see                              where           they          were.              Two      of
                                                      "Elite"
                              the     three                    movers  actually                             worked               while          the         other
                              dragged                along.          They           took        over       twice          as     long          as we           were
                              told     it would              take         to just         pack       the      truck.           They        did         a half
                              assed            job      packing            the         furniture          and        one       guy         kept         moving
                              things           that      would            take         two      people                                     -
                                                                                                                  by himself                    sliding
                              items        down              the     stairs.            I finally        had       to start             making              extra
                              trips      for     them          to get            some         of the        furniture              loaded.                  Good

                              thing       I did         because                as I was             getting          the       last      of it, I found
                              a closet           they          didn't         bother          to try to pack                   and        a few             things
                              in the       apartment                    that   they said they                        didn't        have               room      in
                              the     truck           for-                 bother  to tell me?                        (The         last             I saw
                                                               why                                                                           thing
                              as I drove                away            was         two      of them            cramming                   the last of

                              my      things            in to the             top      of the       truck         as hard               as they             could)
                              We called                 Flat       Rate          on the         way        to the          new          apartment
                              and      told          them          we     were          now      very         late        because                of the
                                               - so                                             "Elite"
                              moves                 they                sent        more                        movers             . The              extra
                              hands            that         showed             spent         more         time   joking                 around              with
                              the     other           movers              than         working.             They    took                forever

                              unwrapping                     the     furniture.They                       set     the      bed          frame           up     like
                              a house                of cards             with       no bolts and not on the area rug
                              that                    had      packed               - why?   Would  I not notice this.
                                       they
                               Shocker,                three         pieces             of fumiture               were         badly            damaged
                              beyond             repair.            They          were          several           other          issues               but    now
                              that     I just          relived          it here           my stress               level        is too          high         to mull
                              over       further             details.             I ended           up submitting                       this      review
                              because                 the     claim           letter      for      all the issues                  I brought                 up to
                              them        basically                told       me        to go       screw          off.        They            feel     that        the
                              estimate                of loss           and
                                                                      to the itemsdamage
                                                                                      plus the
                              inconvenience       is worth   $480    - just $20
                                                                                  shy of the
                              deductible             do  the  adjustment      themselves     - total
                                            (They
                              conflict          of interest).


                              Flat     Rate            used         to be         a decent               service           but     is now
                               HORRIBLE.



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                    York,      NY
                                                              Avoid         at all costs!                     I moved             with     them             in November                      of last
                  1 friend
                                                              year.         The           move         was         within         the      same             apartment                 building
                  2 reviews
                                                              (down            one        floor        in the        elevator)             for    an agreed                     upon         price
                                                              of $960.00.                   They         broke             the     base          of my           46      inch        LCD
                                                              television              and         then        tried        to hide         it by       piling           boxes            around
                                                              it!    The         crew        was         inconsiderate                     and         shady            and         by the
                                                              end         of the          day        I was         so eager              to get        them             out     of my
                                                              apartment                   that       I told        them          I would         move             the     last

                                                              remaining                   items        on      my     own.          After         filing         an      insurance
                                                              claim         the       company                 agreed             to reimburse                     me      $26.00             for
                                                              the        damage          to my                $2000.00             Television!



           www.complaintsboard.com


           Flat              Rate                     Movers                                     -          Awful                          compan                                        y
           Valerie          Review              updated:            Dec        18,        2008


           We        hired            Flat          Rate            Movers                       for        a full-service                                  (packing,                        storage                  &

           moving)                  from            NYC             to      Cambridge,                                 MA            over              the            summer.                         There


           were        4 major                     issues:




           1)    Stolen              silverware.                          Of       35        boxes                  that           were               packed                        on       June           30th            in


           NYC,           34        were            delivered                        to     our             apartment                            in         Cambridge,                                MA.         The


           missing                  box         had         14       sets            of     sterling                       silverware                            that           were               gifts        for


           our       wedding,                      exactly                 $5,            6oo          worth                 of      silver                 and               $1,        ooo           of      other


           items.




           2)     Missed                  deadlines.                      First,             the            pack/move                                 out         was               scheduled                     for

                                                                                                                                                                                                      'norm'
           June           30th            for       one           day.           Instead                      of      sending                     4 movers,                              the                              for


           a 1-br,           they            only           sent           3 movers                           who            worked                     9        AM-8                    PM,          but       had             to


           return            for          4 hours                 the          next              day          to      finish.               Second,                           Flat           Rate           had

           agreed              to     deliver                to      Cambridge                                the          morning                          of     August                      4th.         Our

           things            were               delivered                   August                     5th.           Both               missed                     deadlines                          were



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              inconvenient                                   and          inexcusable                             as        they           were                in     no        part            our       fault.




              3)       Damaged                          items               due           to      sloppy                   packing.                      Flat          Rate's                 own         delivery
                                                                                                                                   job'
              team              said            it    was            the           'worst              packing                                   they'd                ever             seen.            Damage

              included:                        a      3 inch               deep              scratch                   on      our              dining                room                table          due              to       the


              fact           that         it         was          only          wrapped                      in        a     rug           (instead                    of       standard                    rug                &

              cardboard),                              many                 7-8          inch           scratches/dents                                         on         a    nightstand,                           2


              knobs                 missing                       from             a    dresser,                  and           4 broken                            wine             glasses.              In


              addition,                        4o+            ties         were              carelessly                      thrown                      on         top         of      dirty           shoes                  and

                                                              'Fragile'
           boxes                    marked                                                arrived                 upside                    down                    and         on        their          sides.




              To        top         it    off,             Flat          Rate            lied          to    us         about                   insurance                        rules,             accusing                       us

                                                dipping'
              of      'double                                                b/c          we           had        collected                        under                  our          renter's


              insurance                         policy.                   Either                Flat         Rate             didn't               understand                               the         concept                     or


              more              likely,                assumed                          we       would                 not          know                 the         meaning                       of    the


              concept                     and           thus              would                 believe                them                when                 they            lied          about             its


              meaning.
                                                                                                                                                                                                  Read      2 comments

              More             Flat        Rate              Movers                    Complaints                      &     Reviews

          •           Flat     Rate        Movers                 - Disaster
                                                                                          company

              Responses




                  Barry        Nov        29,        2008


              This            company                         is      a     disaster                   area.




              I    overpaid                          and          had         a horrible                       experience.                               The           movers                     got     into                 a


              fight            with             my           porter                and           sent          him            to          the       ER.             They               then           THREW

           AWAY(not                                  lost)           my           cats          ashes,             my           bookcase,                            my          kitchen                 chairs




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           and        all         of    my          medications,                          vacuum                 cleaner                    and        a whole               lot     more.

           When               I    called            their         customer                       service              they         made                excuses               for     the


           crews             behavior                    and       tried            to     blame              me.




           They             offered                no     apology                   and         only        offered                to        allow          me       to       file    a     claim


           with         the            insurance                 I bought.                   This           means              I    have               to   pay          a   500       dollar


           deductible                        and         have          to     pray         that          everything                          won't          be      disallowed.


           This         is        despite               the     fact         that         their          crew           threw                my         stuff       in       a


           dumpster.




           They             took         no         responsibility.                         I     am        so    angry                 I    set       up       a website              to


           describe                    my      experience                          and      give         an       update                    as     I   go       through              my
           claims                 process.               Avoid              this         company                  at     all       cost.




           The        website                  is       www.flatratesucks.com




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           www.mymovingreviews.com


           William               BenjaminharperService                                        cost:         $5500


           Oct      29,      2019


           Local          move            within          New           York


           INCOMPETENCE                                    from           beginning                   to     end.


           To      begin,          Larry           P. comes               to give             us an estimate                           by     evaluating                   the         items        to be

           packed            and         moved            into         storage              and       then       back         home.             We get 2 estimates                                     from         him

           (into      &      out         of    storage)            and          are     quoted              a FLATRATE                              price,         to include                   full

           insurance                coverage.               The         moving                day          arrives,          as does               the       team          and          3/4's       of the          way
           through               were         notified           that         Larry          P. missed                 several               items,          so there                 would            be     a price

           adjustment,                   increaser.               At      this        point          I am thinking                       bait        &     switch,              but       we       gotta          go,
           so we          proceed.


           Our      items           get       moved           into         storage              for        2 weeks            and           thinking,               this        was          not       a bad

           experience.                   Then          I am reviewing                          my American                           Express               Bill         and      see that              both

           moves            were          charged             out        at one             time.          I call      and        speak             with          Larry's              boss,        George.

           George            apologizes,                   speaks             to a woman                       near         him         and     asks          her        to credit               the        account

           $ x amount,                    never          happened.                   And          then         they         charged             us again                 for     the         move           out         of

           storage.


           We move                 back          in and          notice              that     there            are    3 individual                       items           damaged                   or broken

           during           the     move,             and        here         I think,            this       is annoying                     and       we         have          full      coverage.

           Then        2-3         weeks           later      I notice                that        there        is another                   brand          new          piece           of      custom

           made           furniture             that       is damaged                       in 3 places.                Due            to the         fact        that         it is a lacquered

           custom            table,           I do not           not       know              if it's        salvageable                     or needs              to be remade.                         Again,               I

           think       to myself,                  this     is annoying                      and         we     have          full          coverage.               Whew                what           a relief,                 it

           was      worth               the    investment.


           We       submit              the     2 claim             forms             and      all       the     pics,        not           once,        once           twice...but                 at least             7

           times.          The          geniuses            in Claims,                  never              thought           to        scroll        down               a bit      and          find        the

           pictures.              They         kept        telling            me the              e-mails             did     not           contain          any         pictures.                 The        Claims

           manager,                Talisha             does        not        return          phone             calls        nor         e-mails.             So the             Sales           manager

           put     me in touch                     with       Customer                      Service,            Bernadette.                     She         started             off      very
           communicative                         and        feel        off      the        face       of      the     earth,            when         the         billing              situation             came

           up.     Then            I get       a form            letter         stating             that       we     are      covered                for         .60     cents           a pound.

           Needless                to              I am a bit              puzzled.                 So I go back                       to my          e-mails               and         forward               the       e-
                                         say
           mails          indicating               what          level          of     coverage                 we      wanted,(                how          else         would              I know               the

           cost      of     full        coverage).


           I was          told      by        Bernadette                 last        week           that       the     VP         of     FlatRate                 would           be back                from

           vacation              on Monday,                      10/28/2019.                      I called            him         this                              at approximately                                10-
                                                                                                                                             morning
           10:15.          Only           to be told              he was              out      of the           office            and        she      did         not      know              when           he'd        be


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           in.   I asked           for     George          and    he was         not     available;            Bernadette           was    also    not     available

           and      I did     not        bother      asking          for     Talisha.      I called        back         about     10 minutes            later       to   see

           if George           was         available,          but      he magically            went       into        a meeting.


           So when            I returned            home         this       afternoon       I called           American          Express          and    disputed

           all   charges           associated           with         this     move.      The     agent         at   AMX         asked     me if I had            been          in

           contact          with         FlatRate       and      I told       her     a very,     very,         very      abbreviated         version           of the

           above,       names             only      were      given.


           I will     never         use      them       again        and      only      recommend               them       as a how        not     to run       a

           business           model.




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           www.mymovingreviews.com


           Maria           BlancoService                         cost:         $1500


           Oct       16,     2019


           Local          move             within          New              York


           Worst           moving                company                    in all     NY.        DO         not     contract             them


           Every           once            in a while             you          find         unreliable             service           companies,                   but     Flatrate            probably
           wins       the        price           in terms              of    incompetence                     and        negligence.                  I contracted                  an all

           inclusive              moving                 service             (including               dissembling                   and        reassembling                     a sofa        and       a

           bed       frame)            to move                a lbdr           apartment                 from        the      Upper            West         to Long              Island          City        on

           August            28,       2019.             Well,          I will        tell     you       something,                  my        sofa       never          arrived           to my            new

           apartment!!!!                     Someone                    from          the     carpentry             team           broke        my         sofa       (while           trying          to

           dissemble                 it)     and        decided              that      the      sofa      could          no        longer         be of         any       use       (and        took

           advantage                 of      the       fact      that        we       were       already            travelling              with          another             Flatrate          team         to

           our       new         apartment)                   and       unilaterally                  took      the      decision              to dispatch                    it as garbage                 it at

           an unknown                       location.             After            3 hours            of having            no       news          of the          carpentry              team,          they

           finally         showed                 up      with         our       frame         bed       (which            by      the      way          was      severally              scratched

           and       damaged)                    and      this      person             had       the     nerve           of telling             us he decided                    to ditch           our

           (which           he broke)                   sofa      somewhere                     unknown.                 Unfortunately,                        that      is not        even        the

           worst          part       of     dealing              with         Flatrate.           Their         sales         team          seems          nice         (at    least       on     the

           surface...),               but        their        claim           team           is the      most        unhelpful,                 incompetent                    and       negligent

           team        you        can        imagine.               We           submitted               a claim           form          the     first      week          of     September

           and       we      still         have        not       get        an answer             on      our       claim.          They          do not           answer            our        emails

           or phone               calls,          and      neither             the      sales         team         has     helped           at all.        I sincerely                 hope       you        do

           not       commit                the     same          mistake              I did      when           deciding              to hire            Flatrate.            The      experience

           was       and         continues                to be         a nightmare.




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           David           SimonService                    cost:        $500


           Aug        30,     2019


           Local        move           from       Brooklyn,                   NY       to New            York,          NY

           Careless,           rough,           and       unapologetic!


           These        guys         have        some         of the            worst          customer               service          I've         Ever          experienced.                      Adam
           Robb        handled            my move                  and        then        as soon          as things              went            wrong,             he disappeared.                              I

           bought            a new       sofa         from         an outlet              in Brooklyn                  and      needed               it moved                to the           city.              The

           rate      was      $500        to move             one           sofa      4 miles.           I didn't           want        to        shop           around            so I agreed.                        I

           was       reassured            that        it would              be well            wrapped              and      taken           care          of,     and       delivered                      to

           me in perfect                condition.                 When            the     drivers           showed             up,         I came               downstairs                  and            saw

           that      they     were         dragging                my       brand         new          leather         sofa       on        its     side,         the      whole             length               of

           the      truck.      Furthermore,                     the        sofa      wasn't           wrapped!!                I couldn't                 believe              my     eyes.                Its   a

           $13k        brand         new        leather            sofa       from        Restoration                  Hardware                    and         these       guys             are

           treating          it like       I bought              it at a thrift                store     for     200         bucks.           Of          course          there         was             a

           huge        scratch         in the           leather.            I tried       dealing            with       FlatRate                  about           this     and        after         many
           calls      I got       nowhere.               They          offered            me $180.               The        replacement                        of the        piece           that           was

           damaged             is about            $3500,            and        they       offered           me $180!!!                     Im      just         so disgusted                     by
           these       guys...they               have         no       sympathy                and      no     remorse.               Its     all         about          dollars            and         cents.

           I called          my      account             manager                (Adam            Robb)           for    help        but           it got         me nowhere.                       Then               I

           tried      moving            up      the      ladder           and      finally           spoke          to a manager                      Brittany               Tovar            and

           pleaded           with       her      to do the              right         thing.       She         said     that       since            I didn't             insure         the        item,
           that's      all    they      were            required              to give          me by law,                 and      that's           all     they         would              do.     I

           asked        her     to at least              reimburse                 me for          my move                  and     she           made            it seem            like         that           was

           an insane           request.            Her        assistant               even       told      me to bring                  them              to     small          claims             court,
           which           I thought            was       kind         of     funny.           Anyway,              you        would              think           that     a professional

           moving            company               would            know           that      you        need        to wrap             delicate                 furniture            in blankets,

           and      that      if they          didn't        take       all     measures                to protect             your          items,              they      would             at least

           try     to do the           right       thing         and        make          it up        to you.         Instead              these          guys          just      really
           seemed            to not       care,         and      were           only       willing           to do the             bare           minimum                  required                 by
           law.




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           Uri     BeService                cost:     $2000


           Jul     08,     2019


           Local         move          from      New         York,        NY      to Brooklyn,                 NY

           Ok movers,               terrible          at resolving             claims


           I had         used      FlatRate           in the     past      with      good         results...but               I guess      that's      because

           nothing          broke.          This      last     move,       they      broke         a $3000                dining      table.      I submitted           a

           claim         as instructed,               waited          21 business           days        (the         form      says     it takes       between          14

           and     21)      with       no     word.          I contacted           them      and        was         told     they     were        waiting      for

           something               from       operations.              Later      that     day      I received               a new       email       asking      me to
           submit          the     claim.         I spoke        to    someone,            very      nice,          who       said     I didn't      have      to resubmit

           the     claim         and      would        hear      back      the     next      day.       It's        now      26 business            days      and    still   no

           answer.          Will        update         as we         go   along,         in the     meantime,                 I would          suggest        looking        at

           other         moving           options.




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           AnnaService                   cost:         $1250


           Feb       11,     2019


           Long-distance                      move          from       Forest             Hills,       NY       to Bakersfield,                        CA


           Everything                 was       broken.


           I found           FlatRate             Movers             in a Google                    search           for     my move                from         NYC            to California.

           I called          multiple             companies                  and         FlatRate           had        the      cheapest               rates      by         a long      shot        (red

           flag?),          and       seemed            to have           good            reviews,           so I booked                  them.          I was          not      shipping

           any       large        furniture             items,        only          some           boxes        of     clothes           and      a flat         screen           TV,         a glass

           dinner           table,       and      a large           floor       mirror.             I got     a delivery                 slot     of     about           2 weeks               and

           was       told      it would               likely       arrive          in the          beginning                of the       slot.         My       items          arrived          on the

           last      day      of the          slot.     Fine,        no      big         deal.      Once        all        my items             were        brought              in,     we     found

           the      TV       had       been       shattered,              the       mirror          was      in pieces                 and      the      dining          table         legs      and

           base       were           twisted          and       broken.            The        driver        apologized                   and      called          HQ           and      took

           photos           of my         items.          The       total       of       damages             was           $500.       Weeks             later     I got         back          about

           $175        for     all     this      trouble.           It is my              fault     that     I only             paid      for     the      basic             insurance           but

           how        did      all     3 of my            fragile         items           break?           My        clothing            boxes           were          all     ripped          up    too

           but      thankfully                clothing             is not       as fragile.            Lastly,              I got       an email               to review               my
           experience                 and      the      website             would           not      even       let        me rate           them        anything               below           4

           stars.        I am disgusted                     with      this         service          and      company                   and      this     may       be the              only      time

           I've      ever      written           a bad          review             for     anything.            I suggest                you      all     reconsider                   any     long
           distance            move           with       this       company.




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           RlongmanService                         cost:        $6278


           Oct      19,     2018


           Long-distance                    move         from         New          York,        NY        to   Sarasota,            FL


           Flatrate         Destruction


           Flatrate         Moving               should         be called             Flatrate           Destruction.              When        Flatrate        delivered              our

           goods          they     had          destroyed          all      four       legs      on      a valuable             coffee      table,     had     broken           the

           plexiglass             covering             of    a very           large        expensive           piece        of    artwork,           gouged      the     frames

           of    our      bed     in many              places         and      had      broken            other        valuables.           We had          insured      the

           shipment              for     $28,308.            We       filed        a claim         for     $5,139,          a very         honest      statement           of    our

           loss.       Flatrate          sent      us a check               for     $827.32.             Flatrate         said      that    since     the     actual     value

           of the        shipment               was     greater          than         the     $28,308          coverage,             they     were      paying         only
           18%         of the          claim.      We        regret      that         we      failed      to read         all    of the      negative         reviews

           before         contracting                 with      Flatrate.




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           Elizabeth                KService          cost:     $5000


           Oct      16,        2018


           Long-distance                     move       from        New      Jersey        to California


           Thieves


           If    I could          leave       them      negative          stars     I would


           This      company                 are    thieves     they       stole      2 of my           designer         bags     and     tried      to offer   me
           $300


           How        ridiculous


           After         4 months


           Let's         not     forget        they    were         a week        late     with     delivery        then        showed       up      with   6 boxes

           missing              and       2 pieces      of     my    furniture           missing          showing         up    2 weeks           later


           Offered             no     incentive         come        to find        they     stole       2 bags


           This      company                 is the    devil


           Do      not     use        them


           No response

           Nicholas              only       speaks       to you       at time         of    sales       with    broken         promises


           I regret            trusting        them




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           Hannah             HoltService             cost:       $5000


           Feb      12,      2018


           Local       move          within         New        York


           Horrible!            A    bunch          of thieves


           They        stole,       smashed           and      misplaced              over     $10,000         worth      of personal         items


           [EDIT]


           It's    entirely         outrageous!


           If you       treasure            your     belongings              DO NOT              HIRE         FLATRATE!

           In     addition          to this        they     charged          more       than     $1000        fraudulently         to the         card    on      file

           with      NO AUTHORIZATION.

           The      customer             service          in non-existing               entirely!


           I can      not       stress      how       bad      this     experience             has    been     and     there    have       been      absolutely
           no     communication                     - if you          are                    or have     broken         items    they'll      just       ignore
                                                                            missing
           you.


           SAVE           YOURSELF                    THE        AGONY              AND          STEER         CLEAR!


           Horrible,            horrible,          horrible!




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           Nicholas BhojService cost: $5500
           Dec 12, 2017
           Long-distance move from New York to California
           Flatrate Moving - Gross Negligence in Moving & Inadequate Settlement
           My wife and I moved from New York to San Francisco and used Flatrate Moving
           to transfer all of our belongings.
           Upon delivery, we discovered that our items suffered extensive damage due to
           gross negligence in packing (see images for subpar packing of kitchen items, etc)
           and handling. Most notably, the screen of our 60’ Samsung was damaged due to
           pressure being put directly on the LCD screen itself during packing or transport.
           Our shoes and various similar articles were left exposed and crammed into closet
           drawers during transport. We are aware that nothing should be left in drawers
           during transport. The company extensively violated this policy which resulted in
           damages. Armchairs worth around $1,200 were delivered shattered into many
           pieces. Kitchen appliances and dining ware were dumped without protection into
           boxes. Naturally, cups, glasses [EDIT] were shattered.
           Note that we did purchase extra and full coverage protection for situations like
           these. However, Flatrate Moving has failed to delivery in this regard as well.
           We notified Flatrate Moving. They scheduled an appointment with appraiser for a
           few weeks later. One day before our inspection was to occur, the appraiser called
           to cancel. This was yet another experience in the unprofessional and unreliable
           service provided by Flatrate Moving. Our appraisal was delayed another few
           weeks. It is now 2 months after our move and Flatrate Moving has still not
           reimbursed us. As a matter-of-fact, they have offered to settle for about one-
           quarter the cost of our total claim. How did they arrive at this inadequate amount?
           Flatrate Moving suggested we can replace a 60’ Samsung High Def TV for
           $399.99 for example. They also suggested we replace the $1,200 armchairs for
           $127. At no point in my life (even on Black Friday) have I found a deal even close
           to these suggested replacement values.
           Some other examples of Flatrate Moving’s unprofessionalism and overall sketchy
           business practice are below. I have email documentation of dates and
           correspondences.
           1. Claims Department promised to address claims by end of specific week. They
           actually addressed it a month later. This has happened twice already.
           2. I called 3 times to speak to upper management – one [NAME EDIT] I believe. 3
           times I was promised a return call. I still have not been called. Upper management
           provides no transparency.

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           3. I called Flatrate Moving’s legal department twice to ask for arbitration
           documents (they are required to provide arbitration). I emailed this department 3
           times as well. I still have not heard back from them. They have thus far refused to
           provide any information regarding such arbitration.
           4. The salesperson we dealt with – [NAME EDIT] – has since disappeared and has
           offered to resolution.




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           LinaService cost: $10000
           Sep 11, 2017
           Local move within California
           Things are missing and company is not responsive
           I wish I could give this company a zero star review. We selected them for a last
           minute move from San Francisco to NYC, paid for by my husband's company.
           Our things are still in storage, so I can't even review them in terms of delivery
           timeliness and damage.
           What I can say is that the move out process was horrendous. Booking was easy
           and quick, and we selected the white glove service for a full move and pack, with
           insurance. For the price we paid ($10k+ for a 4BR), I expected them to treat our
           things with care and be professionals. Instead, out of our four movers, three spoke
           no English and one spoke broken English but enough to get by. Two of the movers
           seemed to be underage. Again, not a huge deal if the move was done well and they
           understood instructions.
           We had fairly simple move out instructions -- pack everything except one drawer
           clearly marked "DO NOT MOVE" and one box, which we asked to be packed
           with a few specific items to take on the plane.
           There were several issues: the movers forgot to pack items throughout the house,
           including a whole drawer in a closet, several things on the wall, a vacuum cleaner
           in a closet, etc.
           They packed our DO NOT MOVE drawer, which included jewelry I had taken off
           to not ruin while moving, medications, and toiletries.
           The box that we asked them to pack to take on the plane was packed with an
           assortment of items from three different rooms. None of them were the items we
           requested in the box.
           To make things worse, we called the company's LA office to complain several
           times and the issue still hasn't been resolved. Our move was 5 weeks ago now, and
           I'm honestly not sure if I'm ever going to see our stuff again, or in what condition.
           We paid over $10k for the move, and I regret every penny of it.




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           ApatilService cost: $1500
           Aug 16, 2017
           Long-distance move from New York, NY to Chicago, IL
           Yikes!
           Do not use this company for long distance moves. I moved from NYC to Chicago
           in June 2017 and was charged $1500 for the move (30 boxes and 4 big pieces of
           furniture - wooden chair, bed, dresser and nightstand). The 3 of the 4 pieces of
           furniture (which were the only things packed by FlatRate) arrived completely
           destroyed. I filed a claim as I figured it was a disgruntled employee. After multiple
           emails and phone calls, I was given $250 for my "troubles". I had to purchase a
           new bed, dresser and chair. If I knew they were going to be so careless with my
           items, I would have sold them in NYC and not paid them to move the big items!
           There are a lot of better companies out there that might be a little bit more
           expensive but will treat your stuff with respect.


           SpauldingService cost: $4000
           Jun 10, 2017
           Local move within New York
           STAY AWAY from FLATRATE
           We moved from Manhattan to Queens and Flatrate's representative suggested we
           use their "ELITE" service as we had some precious things to move, result?... they
           damaged artwork and totally cracked the lid of my 1896 Beckstein Grand Piano in
           HALF, two years later we're still in court trying to get them to pay what is due.
           The word "sheisters" comes to mind! Did I mention we also took out insurance?
           The offered us $1500 (and told us we should pay the first $500) for nearly $6000
           worth of damage!




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           Donald BergService cost: $2000
           May 27, 2017
           Long-distance move from Connecticut to New York
           Flat rate
           We recently moved to NYC from CT and opted to use Flat Rate. They literally
           damaged every piece of furniture. They broke our dining room table, king sized
           headboard, coffee table, hutch, night tables and both dressers. Their policy is to
           make restitution based on the weight of what was damaged. We were compensated
           approximately 300 dollars for thousands of dollars in damage. Do not use this
           company. Hire some guys hanging out at the local [EDIT]. I have moved a
           number of times in the last 10 years and have never had anything like this.


           AbbyService cost: $5200
           Nov 04, 2016
           Long-distance move from New York to Oregon
           I'm so upset.
           I recently moved cross country with Flatrate, from Brooklyn, NY, to Portland, OR.
           Yesterday, I started unpacking boxes and many items of jewelry were missing
           from my boxes. Someone went through two boxes (marked Bedroom/my name--a
           big mistake) and methodically took everything they thought looked valuable. They
           had time to open each box and hastily toss everything back inside. One box was
           even retaped.
           I just don't understand how this is acceptable. Damaging things in a move, even
           losing a box or an item once in a while, sure--it happens. But Flatrate, YOUR
           EMPLOYEES ARE STEALING your customers' belongings. No business should
           ever stand for that.
           I am waiting to find out what Flatrate is going to do about this. I will be happy to
           revise this review if they rectify the situation, but this theft overshadows
           everything else.




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           Maria De CarvalhoService cost: $3000
           Jun 02, 2016
           Long-distance move from United Kingdom to California
           Hideous experience
           Awful experience! Do not hire this company!
           The name should not be FlatRate, they bring new fees and charges during the
           whole process after you paid the agreed amount. They are incompetent, terrible
           employees, incredibly dismissive and unprepared. And of course, we had a big
           part of our belongings broken.
           Seriously, stay away from them!!


           DavidService cost: $5900
           May 13, 2016
           Long-distance move from New York to California
           Theft and Damages
           Avoid at all costs.
           A laptop and PlayStation 4 were stolen from boxes marked "electronics" and
           "games". I handed the laptop (in carrying case) to the packing mover, he placed it
           in a box, sealed it with clear tape and wrote "electronics" on the tape.
           When I received the boxes, a different kind of tape was covering the original (and
           the word "electronics"). After I opened the box, the laptop and charger were
           missing from the case. Same deal with the "games" box -- I opened it and the
           PlayStation 4, controllers and games were missing. Everything else that was in the
           box before was there.
           A grand piano was also severely damaged, as well as a floor-standing speaker and
           other various items. Estimated cost of loss and damages is around $7,000.
           A police report was filed for the theft.




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           WendService cost: $2700
           Jun 19, 2015
           Long-distance move from New York to Illinois
           Damaged several items
           When I arranged this move with the coordinator in NY - who, by the way, was
           efficient and a pleasure to work with - I told her there were some large and/or
           oddly shaped items I didn't know how to pack properly. After giving her a
           complete list of those items, we agreed that the movers would see to them on the
           day of the move. Everything seemed to go perfectly, and I couldn't have been
           happier. Until my belongings arrived in Chicago, and I found that the only item of
           furniture I'd moved - a 3-drawer wood file cabinet, which had survived some 20
           years without so much as a scratch - was destroyed, as were 2 cast iron kettlebells
           and 3 other items. I can't even begin to imagine the kind of force and abuse it took
           to shatter the outer layer of the kettlebells! It boggles the mind. When all was said
           and done, my claim was calculated by weight, not value, and I was informed I'd
           receive $120 for more than $500 in damages. This despite the fact that
           EVERYTHING THAT WAS DAMAGED HAD BEEN PACKED BY
           FLATRATE'S MOVERS! When a company does not hold itself accountable for
           its own employees' negligence, my suggestion is LOOK ELSEWHERE. My
           biggest mistake in this whole experience - other than hiring Flatrate, of course -
           was tipping the movers BEFORE I'd unpacked. Had I not done so, I would have at
           least saved the cost of replacing the items they destroyed. Live and learn.




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           Ellie GiovanopoulosService cost: $6000
           Feb 23, 2015
           Local move within New York
           Do Not Use Flat Rate- Musty Odor in all Stored Belongings
           DO NOT USE FLAT RATE unless you want: all your belongings & your new
           home permeated with a strong musty odor for months on end after using their NJ
           storage facility; a couple of broken pieces of furniture; & a laughably small
           'courtesy' reimbursement for your troubles, after their citing a policy of only one
           claim per move (not documented anywhere).
           My furniture/boxes were moved from Queens, NY to a Manhattan apt, after 6-
           month in their Newark, NJ facility. They were delivered to a pristine, newly
           renovated, freshly painted & empty apt. The musty odor was definitely not there
           before the items went into storage. The 1st items brought into the empty apt were
           2 large cartons packed by Flat Rate. As some as they came in, a very strong musty
           smell was released, acknowledged by the head mover. As more items came in, and
           as upholstered furniture was unwrapped from FR's moving blankets, the odor
           increased. I naively assumed this was temporary & would air out in a day or two.
           For the 1st week, the odor drifted into the common hallway.
           Over the last 3 months, I have: researched corrective measures extensively on-
           line; vacuumed, cleaned & laundered the apt, the upholstery & all the stored
           contents many times over; aired out the apt & all the items with fans for hrs. on
           end; air-conditioned & heated to remove any humidity; used over $95 worth of of
           mold/disinfectant/deodorizing/air-sanitizing sprays, odor absorbers etc. in
           repetitive and labor-intensive cleaning of every item; washed down furniture; &
           discarded many items. As each carton was opened, more musty smells were
           released & more items had to be cleaned, aired or discarded.
           My expensive Tempurpedic mattress & boxspring, as well as some upholstered
           pieces still retain some odor, although not as strong; I cannot afford to replace
           them. I threw out a costly foam mattress topper, since, even after cleaning, after
           sleeping on it one night, I had a severe reaction (coughing, sneezing, throat closing
           up, etc.).
           I could not live in the apt for 2 months, although I was paying. I finally moved in
           but still smell an odor, although much reduced, but I am worried about the quality
           of the air I was & still am breathing. (After hrs of unpacking & cleaning each day
           at the beginning, my clothes retained a faint musty odor brought into my temp
           quarters.)
           When I wrote Flat Rate about this, I was sent a 'courtesy' check for $150; they said
           I was only allowed one claim, which is not documented anywhere. As to that one

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           claim, the head mover took full responsibility for a broken chair leg, sent the
           office a photo of it & FR had me fill out a claim form; they reimbursed for that
           damage (kindly waiving the deductible). At that point, I still thought the odor
           would soon dissipate, not realizing the extent to which it permeated my
           possessions. Also, I had not yet discovered a 2nd broken chair. And one does have
           90 days to make a claim. I paid FR close to $6,000, with $3,000 of that for storage
           (described as 'climate controlled' on their website). Why not reimbursement of my
           storage costs instead of the $150 "courtesy" check? (Be aware: mid-way through,
           FR increased my monthly charge: I had no choice but to pay.)
           Also, be aware that when you do cash a claim check, you are signing a legalistic
           statement releasing FR from any future claims/responsibilities.


           MollieService cost: $3000
           Jun 24, 2014
           Long-distance move from New York to Ontario
           Do not trust FlatRate
           Avoid this company at all cost. We hired FlatRate to move treasured family
           heirlooms. When the shipment arrived, items were damaged and some were
           missing altogether. Attempts to follow-up with the company regarding the
           missing and damaged items were more or less ignored until legal action was
           threatened. Instead of trying to help us resolve the problems, FlatRate simply
           denied all responsibility. FlatRate provided what was perhaps the worst moving
           experience of my life. Shame of FlatRate for their abysmal performance and
           service.


           Scott J.Service cost: $900
           Nov 18, 2011
           Local move within New York
           destroyed my TV
           FlatRate smashed my 50 inch plasma television during the move. Then they only
           offered to compensate me 60 cents per pound. That turned out to be $36 for a
           $2000 television. They also broke a lamp and showed up hours late. Do not use
           this company !




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           AliService cost: $8000
           Feb 02, 2011
           Long-distance move from New York to California
           Flat Rate Move
           I had previously heard good reviews for instate moves using flat rate. However, I
           used them for a cross state move and the experience was horrible. I had one stolen
           item (42" TV) and damaged items. When going through customer service to get
           this items reimbursed, they approved the claim, but never sent me my check.
           Horrible customer service and lack of professionalism.



           karina berzins TRUST PILOT



                                                                                    Updated Oct 9, 2019
           Lots of damage due to careless packing/inexperience? They
           do not do condition reports and deny all wrongdoing
           I was mislead by the good reviews online... turns out you are unable to leave negative
           feedback on a lot of these ‘review’ sites which explains why.
           This company claims to be fixed rate fully insured. We were charged 3 times the quote and
           they refused to pay for damaged goods that were obviously broken due to extreme
           carelessness... one lamp worth $1000 was found smashed beyond repair after it had been
           ‘packed’ without blankets in a spare tyre, for example.
           The company storing our container went out of their way to tell us how unprofessional they
           were at the depot, and how they didnt understand why they required two trips to move one
           container load of furniture.
           They would not answer or return my calls when i declared the damage, then finally accused
           me of making it all up (!) because my parter had diligently paid their bill as soon as he
           received it.
           Ive moved over ten times this decade and have never written an online complaint before but
           this was all beyond belief. Go elsewhere.




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           Keegan O'Brien TRUSTPILOT




                                                                                          Nov 15, 2018
           AVOID FLATRATE AT ALL COSTS
           AVOID FLATRATE AT ALL COSTS. If you are considering a long-distance move, please
           look elsewhere. I have moved several times and this was the most frustrating and
           disappointing experience I have ever had. FlatRate lost 25% of my items (over 20 boxes and
           other items such as suitcases and a flat screen TV) on my move from NYC to Chicago.
           After a few days (and outside the window where our items were supposed to arrive) our
           belongings were no where to be found. Eventually, some items were found in Newark, NJ,
           hundreds of miles away from where they were supposed to be. Items arrived damaged and
           several items are still missing today over 3 months since we moved. My experience with
           their customer service, claims, and other departments was horrific. I rarely received
           responses, updates, and never received an apology. My wife and I were without essential
           kitchen and apartment items for weeks and because so many items were lost, had to go out
           and buy new items. FlatRate offered me $180 for the inconvenience even though the
           missing and damaged items replacement cost was over $5,000. What was more infuriating
           was that they seemed to be proud of this gesture and thought it would resolve the situation.
           What a joke! Please do yourself a favor and find another company.

           In summary:
           - They lost many items
           - They damaged many items
           - They didn’t deliver items in the date range on the contract
           - Their customer service and claims department rarely replied to my dozens of emails and
           calls




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           Hannah TRUSTPILOT



                                                                                           Feb 12, 2018
           A bunch of THIEVES!!
           If I could give less I would. This company is a disaster!

           They stole, smashed and misplaced over $10,000 worth of personal items, and after 6
           months of trying to get this covered by their insurance which we purchased, they agreed to
           $800 for damages!
           It's entirely outrageous!

           If you treasure your belongings DO NOT HIRE FLATRATE!

           In addition to this they charged more than $1000 fraudulently to the card on file with NO
           AUTHORIZATION.

           The customer service in non-existing entirely!

           I can not stress how bad this experience has been and there have been absolutely no
           communication - if you are missing or have broken items they'll just ignore you.

           SAVE YOURSELF THE AGONY AND STEER CLEAR!

           Horrible, horrible, horrible!




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           Le Anne Steinberg TRUSTPILOT



                                                                                               Feb 19, 2017
           Worst move ever
           First, we had our stuff in storage in San Francisco and were told stuff would be picked up
           from storage on their state of the art trucks and moved by the same crew direct to our condo
           in DC. None of this was true. They picked up our stuff, put it in storage without our
           consent, and lost items. The goods were delivered in a old dirty Penske truck, which broke
           down in route. The crew had 1 exacts knife and had to borrow a cart from our condo to
           offload the furniture. They put things not in the room they belonged or were labeled but
           where ever was closest. Mattress was not in a mattress box, and arrived filthy with cover
           torn. When they assembled it they had lost the slats and didn't tighten the frame so me and
           my husband who is 96 ended up crashing to the floor in he middle of the night. They didn't
           protect the hardwood floors and did over $18,000 of damage. They left dining table with no
           legs, coffee table in pieces, priceless Italian lamp in pieces. Instead of making it right, they
           forced us to get a lawyer.



           Greg Carter Gary Jaffe TRUSTPILOT



                                                                                                Dec 9, 2016
           Verified order
           Hiring Flatrate Moving was a disaster
           The movers were late. Brought no blankets to wrap furniture. Took 12 hours to complete
           the move. Multiple pieces of furniture, art and the new apartment were damaged.
           Disappeared with no communication. Employees at the office could not be reached ever.
           Foreman Anthony was combative and rude. Movers left trash in the hallways at both
           locations. Hiring this company was a huge mistake.




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           Mark F TRUSTPILOT



                                                                                             Oct 31, 2016
           Verified order
           I'm not a valued customer.
           I've used FlatRate for two moves and 21 months of storage, $6000. On my most recent
           move it was discovered that my wooden bedframe leg had been broken off the side rail. The
           Flatrate mover admitted that their prior crew did not disassemble or store the bedframe
           properly. Had it been fully disassembled nothing would have been broken. FlatRate insisted
           I am only entitled to $120 for a bedframe that will cost me $500 to replace. They said I
           chose inadequate insurance coverage. Insurance is for accidents, not incompetence! Why
           should I pay for your admitted incompetence?



           Mollie M. TRUSTPILOT



                                                                                              Oct 1, 2016
           Verified order
           Feeling disrespected and taken advantage of
           Not every aspect of this move was bad, but after unpacking broken dishes and a completely
           broken record player, I have to say, I'm really disappointed. The two movers assigned to my
           move took an unreasonably long time, argued with one another the entire time about how to
           do things, and one of them hit on me throughout the move (while I was visibly stressed out
           and on edge). They packed up my plants, which I had asked them specifically not to do,
           except for one large aloe plant. When we arrived at my new place, I unpacked my aloe to
           find it almost completely out of its pot and many of its large leaves snapped off. When they
           saw how upset I was by this, one mover proceeded to go around my new apartment
           SHAKING boxes to determine where my other plants were. Once he identified them, he
           opened boxes to reveal that plants had been set down upside-down and were also
           completely out of their pots. As I watched him dump the dirt from the box back into the pot
           and all over my floor, the other mover handed me a paper to sign that everything was to my
           satisfaction. Stupidly, I signed, because I just wanted these guys out of my house. They left
           and came back because they had forgotten to unload 3 big mirrors from their truck and
           almost left with them. Finally, as I've been unpacking boxes over the course of the last
           month, I have unpacked broken dishes (which I inherited from my dead grandmother) and
           other containers just upside-down with their contents all over the inside of the box. I was
           setting up my record player today, finally settling in and feeling good about my new space,
           and opened the turn table to see that it is completely off kilter and the needle has been
           snapped clean off. I can't even find it. I'm so upset by this experience on principle, but the
           fact that I paid $1700 to have it is astounding. Never again. I suggest you steer clear or
           proceed with extreme caution.

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           Brett Wood TRUSTPILOT



                                                                                              Sep 23, 2016
           Verified order
           everything BROKEN
           First of all : The people you speak to on the phone treat you like you are an idiot , they don't
           listen when you give them your inventory list then they try to charge you more money when
           the truck gets there;;;;;; Should have been my first clue to call someone else , next the day
           my stuff gets to my new house the truck was to big to get down the driveway so they have
           to off load my stuff into a smaller truck , 2 hours later my stuff is back with broken boxes
           broken furniture IF YOU LIKE YOUR STUFF CALL SOMEONE ELSE



           Kai Teoh TRUSTPILOT



                                                                                               Sep 4, 2016
           Verified order
           Horrible service, broken items everywhere
           DO NOT go with Flatrate. Their salesperson was fantastic when making a sale, promising
           that they'll pack my kitchenware and everything. They came and surveyed the apartment
           and gave me a great quote.

           After I signed the move plan? I could never get ahold of the person again. It wasn't until two
           days before my schedule date (I've called, emailed, left voice mails, everything) that they
           tell me I need to add more to my plan and that the things I requested to be packed wasn't
           included.

           Fine, the price increased by about a thousand dollars. I'll swallow it.

           The delivery ended up 1.5 weeks late, so we were sleeping on the floor on in an empty
           apartment.

           When they delivered, numerous items were damaged and broken. Things they packed.
           Boxes were smashed, our couch was damaged, our bed frames was roughly ripped apart (we
           could see they didn't unscrew everything) and the delivery staff said they weren't allowed to
           assemble some of our furniture either (we were promised they would).

           Absolutely horrible experience. If you, like me, thought that "eh, it can't possibly happen to
           me," I'd caution you to think again. It was so stressful I probably would have been better off
           doing the move myself.


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           Emily Brehon TRUSTPILOT



                                                                                                  Sep 3, 2016
           Verified order
           Horrendous Experience with FlatRate Movers
           I scheduled a move with Flat Rate and from the onset of the pickup things were broken, One
           of the movers while packing my furniture tried to lie and insinuate that the shelves he broke
           were broken when he picked them up. He didn't relaize I was watching when he dropped
           them both. Hwe was cursing and exhibiting anger because he was caught. after this when
           my things arrived in Florida so many things were destroyed and broken. It was as if they
           threw my boxes and furniture around. There was no other way the things that were crushed
           and broken could have been destroyed. after filing a claim Flat rate is sending me a check
           for $171.00 , to compensate me for a Dining Room Set which cost over $2000.00, dishes, a
           television stand numerous other things, an island . They have yet to send this check for
           having turned my life upside down. Everyone I know and everyone That I know that knows
           someone will be informed of the way that this company does business. I would not
           recommend this terrible unfair company move a line from one side of the street to another,
           thank you for absolutely nothing Flat Rate. I will never allow anyone to use your company
           again if I can help it.



           Lynn Raynault TRUSTPILOT



                                                                                                Aug 30, 2016
           Verified order
           Disgruntled movers
           I had a great experience with the guy who booked my move, he was very accommodating.
           When the movers got there they couldn't be more unhappy and unhelpful. They constantly
           complained about how underpaid they are. They would not even help me drag my old
           mattress to the curb. I've moved many times and never had any movers not pitch in just a
           little extra help to earn a little extra tip but these guys seemed to take their tip for granted.




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           S Smith TRUSTPILOT



                                                                                            Aug 8, 2016
           Verified order
           "Missing" and damages items
           They are horrible! I contracted w/ them to move my belongings from one apartment to the
           next within the same city. Some how I'm "missing" a large ottoman (part of a set), a
           bookcase and a large pet cage. They also damaged my dining room table to the extend that
           the person they sent from All furniture Services said that even when they sand the table top
           the cuts are so deep that i would still feel them. All furniture Services went back to them
           and gave them an estimate of $1200. Now you'd think that they would pay for this and get
           me a check for the "missing" items...no they took the deductible and are trying to cut me a
           check that is less then the cost to repair my table and replace the "missing" items. How does
           this make sense? Why should I have to come out of pocket to fix or repair anything? I just
           spoke to someone in their claims department and she said that they aren't an insurance
           company and won't get money to replace or repair my items without additional cost to
           myself.

           Per their email -The coverage you purchased is called Valuation Coverage which calls for
           repair before replacement and any item that cannot be repaired or lost/missing items can be
           replaced with an item of similar or like kind.

           When I repeated this I was told that my $700 ottoman can be replaced with their $103 offer.
           Do they "know what similar and like kind" means?

           I even reached out to Keith Snode (Vice President of sales and marketing) R. Andres
           Rabinovich (CFO of FlatRate Moving) and David Giampietro (COO and General Counsel
           at FlatRate Moving) via LinkedIn and none of them got back to me.

           Don't use them EVER!!!!!!!




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           LF TRUSTPILOT



                                                                                             Aug 8, 2016
           Verified order
           Would not use again
           Inadequate number of movers for the job, "disappearance" of a queen size mattress,
           damaged items, and failure to fulfill contractual obligation to unpack boxes are just a few of
           the reasons I would not use this company again. Little to no attempt by the company to
           make the situation right IF you are able to reach customer service.




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           Michelle Spinale TRUSTPILOT



                                                                                              Jul 19, 2016
           Verified order
           Will never use again or recommend to friends - horrible
           service all around
           I recently moved from LA to NY and hired Flatrate with confidence that they lived up to
           their claim as being #1. My entire experience has been terrible and I deeply regret not going
           with a competitor.

           LA based packers showed zero regard for my things and the foreman left the job for a
           personal emergency. Two very unqualified people did a terrible job packing, which resulted
           in significant damage to my things. They didn't even pack my TV's in special monitor
           boxes. Instead, they threw them into boxes with small pieces of furniture not properly
           protected.

           Several of my wardrobe boxes arrived bashed in. My leather jackets, bags and shoes were
           thrown into boxes with heavy things on top which resulted in denting the leather. Coats
           were packed with cleaning supplies. Many of my pictures were placed in boxes without any
           wrapping paper so my custom framed art is damaged.

           Three large pieces of furniture were severely scratched and ruined. My dressers were
           shipped full of clothes and arrived very dented, cracked and with 2 broken knobs. My
           entertainment armoire has deep scratches on the front and a broken bottom shelf. My oak
           kitchen table was scratched as well.

           AND they lost a box/claim that it got left in LA. I've made 3 calls/3 emails to the lead long
           distance manager (Justin) in NY to get a status and he has not responded in 2 weeks. There
           was no coordination between the East/West Coast teams on my insurance, delivery date
           which Flatrate tried to change 2x in NY even though I paid $1,000 extra for guaranteed
           date. The NY crew then arrived 2 hours late. I will file my claim and expect them to stand
           by their brand promise and claim. The experience and customer service have been
           completely unacceptable.




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           Robin TRUSTPILOT



                                                                                             Jun 14, 2016
           Verified order
           Worst move ever
           I have filed a long claim with FlatRate. But the short story is that they showed up late both
           days, did not unpack as we had paid for, lost the hardware to the baby crib which remained
           unassembled, broke some china, broke my desk, and left two large carts of items in our old
           apartment. It was a disaster.



           Matt Ryan Christine Osekoski TRUSTPILOT



                                                                                             Jun 14, 2016
           Verified order
           The single worst moving experience of my life.
           Paid for packing and unpacking as well as for art and lamps to to "crated", nothing was
           done correctly resulting in broken RH floor lamp, broken glasses and clothes in piles at
           bottom of boxes.




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